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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT



MELITA WILLOUGHBY                                           CIVIL ACTION NO.
                                                            3:14CV608 (XH)
                      PLAINTIFF

V.

YALE UNIVERSITY

                      DEFENDANT
                                                            JULY 27, 2015

                           AFFIDAVIT OF BROCK T. DUBIN

       I, Brock T. Dubin, being duly sworn, depose and say that:

       1.     I am over the age of eighteen years and believe in the obligation of an oath.

       2.     I make this affidavit of my own personal knowledge and in support of Yale

University's motion to dismiss.

       3.     I am a partner at Donahue, Durham & Noonan, P.C. and am counsel for Yale

University in the above-captioned matter.

       4.     True and accurate copies of relevant portions of the transcript of the plaintiff's

deposition taken on February 10, 2015 are attached hereto as Exhibit 1.

       5.     True and accurate copies of relevant portions of the transcript of the plaintiff's

deposition taken on May 20, 2015 are attached hereto as Exhibit 2.
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       6.     A true and accurate copy of the Commission on Human Rights and

Opportunities factfinder's Draft Finding of No Reasonable Cause is attached hereto as

Exhibit 1




Dated at Guilford, Connecticut this




STATE OF CONNECTICUT
                                      ) ss. Guilford
COUNTY OF NEW HAVEN



       Subscribed and sworn to before me this O         th day of July, 2015.




                                                       Notary Public
                                                                My Commission Exp. Mar, 31,2016
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                                     DEFENDANT
                                     YALE UNIVERSITY



                                              /s/
                            By:               ct18777
                                BROCK T. DUBIN (ctl 8777)
                                COLLEEN NOONAN DAVIS (ct27773)
                                DONAHUE, DURHAM & NOONAN, P.C.
                                Concept Park, Suite 306
                                741 Boston Post Road
                                Guilford, CT 06437
                                Telephone: (203) 458-9168
                                Fax: (203) 458-4424
                                Email: bdubin@ddnctlaw.corn
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                                       CERTIFICATION

       I hereby certify that on July     , 2015, a copy of the foregoing Affidavit of Brock T.

Dubin was filed electronically and served by mail on anyone unable to accept electronic mail.

Notice of this filing was sent by email to all parties by operation of the Court's electronic

filing system or by mail to anyone unable to accept electronic filing as indicated in the Notice

of Electronic Filing. Parties may access this filing through the Court's CM/ECF System.




                                                              /s/
                                                     BROCK T. DUBIN
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            EXHIBIT 1
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                UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT


CIVIL ACTION NO. 3:14CV608(XH)


MELITA WILLOUGHBY,
                 Plaintiff

VS

YALE UNIVERSITY,
                     Defendant
                                        X




          Deposition of MELITA WILLOUGHBY taken at
the offices of John R. Williams and Associates, LLC,
51 Elm Street, New Haven, Connecticut 06510, before
Clifford Edwards, LSR, Connecticut License No.
SHR.407, a Professional Shorthand Reporter and
Notary Public, in and. for the State of Connecticut
on February 10, 2015, at 10:22 a.m.




           DEL VECCHIO REPORTING SERVICES, LLC
             PROFESSIONAL SHORTHAND REPORTERS
                     117 RANDI DRIVE
                    MADISON, CT 06443



     HARTFORD             NEW HAVEN          STAMFORD
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                                                                           65

1        Q        Did you have any accidents during the

2    probationary period?

         A        I did.

4         Q       How many accidents did you have?

5         A       One.

6         Q       And when was that?

 V        A       November of 2010.

8         Q       Okay. And are you aware of any other

9 people who were on their probationary period who had

10   accidents?

11        A       Oh, I gave a half a dozen different

12   names.

13        Q       Are you aware of any other people --

14        A       Yes.

15        Q       -- who --

16                And who are those people?

17        A        Judith Cuss- -- she was married, Judith.

18   There's only one Judith in the department.

19        Q        And you

20        A        Another officer on probation, Costillo

21   (phonetic).

22        Q        Okay.

23        A        Another person on probation, Richard

24   Mongillo (phonetic). I can't recall any names but I

25   do have a list of several names, just people on
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                                                                           66
1    probation that had accidents, yes.

2        Q      And do you know --

          A     Much worse accidents.

4         Q    Okay. And, you know, the accident that

5    you were involved in, you caused that accident.

6               Correct?

7         A     No.

                You did not?

9         A     I was parking and slightly brushed a

10   mirror on the car.

11              There wasn't, like, an accident. It was

12   a parked car with nobody sitting in it. There -- it

13   wasn't, like, an accident with another car, it was a

14   parked car.

15                 And the girl quickly said, Pull over.

16   Pull over now. And she started yelling.

17                 I had four passengers in the car. There

18   was a parked car on Trumbull Street at the very

19   corner. I think there's even a no parking sign for

20   vehicles, •but there was a parked car. We were on

21   Orange.

22                 She wanted me to make a right and she

23   told me at the last minute to pull over. As one of

24   the four passengers yelled to pull over, because she

25   didn't want to walk far, she lived on the -- the
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1    passenger that yelled to pull over said, Right here.

2    I can't walk with my groceries.

                And at which point there was a parked

4    car. There was traffic behind me and going toward

5    the light. And as I was making the turn -- and the

6    parked car -- and she said, Right -- right here. I

7    pulled over to stop and safely let her exit the

8    vehicle. And I brushed the mirror.

 9              When I finally made a safe pullover and

10   explained to the people in the car that I hit the

11   car, they said that I didn't. The four passengers

12   in the car, one exited with about ten bags of

13   groceries, she was talking to one of the girls in

14   the car, and two people were maybe husband and wife

15   speaking in another language. I believe they were

16   speaking -- I believe they were Indian people.

17              But it was a lot of confusion and alls

18   they kept telling me to do was to get them to their

19   destination. And I said to them, I can't leave.

20   This is an accident. I hit a car.

21              They said, No, you didn't.

22              And when my., supervisor got there, he

23   goes, Melita, you didn't hit this car.

24              I said, I most certainly did.

25              He said, You did not hit the-ear. He
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                                                                            68
1    took his flashlight out. He looked at the car over

2    and over and he said he didn't see damage. But I

3    know that I believe -- maybe my mirror brushed the

     woman's mirror. But when the woman came back to her

     car, the owner of the cat, she thanked me profusely

 6   for waiting. And the other three passengers in the

 7   car had to get transported to their final

 8   destination by a Yale shuttle.

 9        Q     Okay.

10        A     That's all I recall.

11        Q     No one was in the car that you hit.

12              Correct?

13        A      Correct.

14        Q      Okay. And nevertheless, it's your belief

15   that the     the car you were driving came into

16   contact with another car?

17        A      I know it did.

18        Q      Okay. So you caused that accident?

          A      Correct..

20        Q.     Okay.

21        A      Yes. I caused the accident.

22        Q      That was my question.

23        A      I'm sorry.

24        Q      And that occurred while you were on your

25 probationary period?
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 1    of any performance issues you had during the

 2 probationary period. And at first you told me no

      but we just discussed an accident. So I want to ask

 4    you: Do you consider this accident to be a

 5 performance issue?

           A     No. It was an accident.

 7         Q     Okay. Did anyone ever complain about you

 8 during your performance period -- your probationary

 9 period?

10         A     I was made aware of a girl that was

11 crying -- that got into my vehicle crying. She got

12    into the vehicle crying. Apparently, her professor

13 was mean to her and humiliated her in -- in the

.14   class.

15                There were two -- two girls that

16 approached me as I was trying to speak to my

17    supervisor and tell him that it was yet another

18 evening that Manny Rivera avoided me on the radio

19 when I was attempting to get my lunch break and a

20 restroom break because they weren't scheduling me

21 • for lunch and restroom breaks.

22         Q      Okay. And I don't mean to interrupt you

23    but again, we'll get to that. We'll get to all of

24    your claims •   this case.

25                What I want to know now is what are
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 1    your -- I want to talk about any performance issues

      that you are aware of during your probationary

  3   period.

  4              Do you understand that?

  5        A     Yes,

  6        Q     Okay. So we talked about the accident,

  7 which you said was an accident, which you don't

  8   believe to be a performance issue.

' 9               That was --

 10        A      Correct.

 11        Q      Okay. So the next one I want to talk

 12   about is: Are you aware of any complaints that were

 13 made about you?

 14               Okay?

 15               And you started to talk about two girls?

 16        A      Yes.

 17        Q      Okay. Why don't you tell me what

 18   complaints you are aware of that these two girls

 19 made against you?

 20        A      One evening I was talking to Paul

 21 Gallipoli because he approached me yelling at me,

 22 What are you doing? What are you doing?

 23               I said, I'm waiting for -- I have a call

 24   right here. I explained to him that -- he -- he

 25   he accused me of, like, doing nothing. He drove up
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1    to me and accused me of doing anything.

2               And I said, I'm waiting for somebody to

3    come out of the nursing school.

4               At which point I was standing at his car.

     Actually, physically standing at his car and

     discretely telling him so that I wouldn't have to

7 yell from my car that I was having issues again with

8 Manny Rivera, who was not scheduling me for a

9    restroom break or for a lunch break. It was already

10   eleven o'clock at night. I started my shift at

11   6 p.m.

12              A girl came out of the building and I

13 don't recall which girl came out first, if it was

14   the girl crying or the other girl. But a girl cathe

15 out and told me to -- to -- that another girl was

16   coming.

17              And I told her, It's fine. You •can just

18   sit in the car.

19              I was still talking to my supervisor. I

20 don't think she realized I was actually speaking to

21   my supervisor, I think she thought it was just,

22   like, two security guards just chatting. At which

23 point because I wanted to make clear to my

24   supervisor that I had yet to have a restroom break

25   at eleven o'clock at night. And when she exited the
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1    nursing building, I -- again, I wasn't just going to

2    walk away from the car. I wanted him to know that

3    this was an ongoing issue.

4               Would you like me to finish my story?

5               Yeah. Absolutely.

6         A     Oh, okay. At which point, again, I think

7    this girl may have thought it was just, like, two

8    guards just chitchatting. So I politely told her

9    that she can just sit in the car and I'd be right

10   there.

11              At which point he fluffed me off and

12   just, Go take care of your ride. But he didn't even

13   apologize for accusing me of sitting there and doing

14   anything. At which point, when he pulled up to me

15   and yelled out of the car, he was really

16   unprofessional. He should have probably apologized

17   for accusing me of doing nothing and he should have

18   addressed, at some point, immediately probably,

19   addressed via radio or even his cellar phone why I

20   never got a lunch or a restroom break, but he

21   didn't. He didn't at all.

22              I went and finished doing my job because

23   at one point another girl was walking out of the

24   building. So one was just about in the car, the

25   other one got in the car. He drove off and I just
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1    greeted them like I would normally greet anybody

2    getting in the car and stayed quiet because the girl

3    was crying, one girl was crying.

4                I do recall their conversation. And

5 because she was clearly upset and humiliated by what

6 a professor did to her, I didn't say too much. I

7    got close to one girl's destination and she asked me

8 to make a U-turn on State Street. And I told her I

9    couldn't.

10               She goes, Just make it. Just make it.

11 You are going to have to go down blocks.

12               And I said, I can't make a U-turn. And I

13 pointed out that a Yale -- excuse me, not even a

14 Yale -- that a New Haven police officer was sitting

15 on the corner of State Street where she wanted me to

16 make the U-turn.

17               At which point I proceeded about four

18 blocks down where I could make a proper left and

19 get -- an proper turn to get them back on the other

20 direction of State Street. And I dropped the girl

21   off.

22               The next. girl that was in the car was the

23 girl that was upset. And she asked me a couple

24 .questions and asked me if I was upset.

25               And I said to her, I'm sorry.
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  1                She goes, No. Just tell'me about your

  2    day.

  3                And I don't know if she just sensed by my

  4 being quiet that maybe I had a bad day, I don't

  5 really know but she -- I listened to her about her

  6 day and it being bad but she wanted me to share my

  7    night. And I didn't feel it was professional to

  8 tell her really what went on in that department.

  9                At which point, after not sharing what

 10 went on, I got to her drop off, which was probably,

 11    like, Temple Street. And I couldn't get close

 12 enough due to cars already being double parked. I

 13 believe it was on a Thursday or Friday night and

 14 there was a lot of activity. And I dropped her, but

 15 not knowing that I didn't drop her close enough to

 16 her door, she got mad and called up and said that I

 17 made her walk really far -- far to her apartment

- 18   building.

 19                That was, to my knowledge, the basis of

 20 the complaint.

.21           Q    How do you know that was the basis of her

 22 complaint?

 23           A    Because when the -- Manny Rivera, over

 24    the radio, said, You can't just drop people

 25    wherever.
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1                So -- and I dropped -- I felt I dropped

2    her off -- I -- I wasn't trying to do anything

3    unsafe.

4                          MERLY: Could we go off the

5                record for one minute?

6                       MR. DUBIN: Yeah.

7                       MR. MERLY: I'll be right back.

8                just got to get something. I'll be right

 9               back.

10                   (THEREUPON, THERE WAS A RECESS TAKEN

11                   FROM 12:01 p.m. TO 12:02 p.m.)

12   BY MR. DUBIN:

13          Q    Ms. Willoughby, that -- so you were aware

14 that someone did make a formal complaint against

15   you?

16          A    Yes.

17          Q    Okay. When did you first become aware of

18   that?

19          A    When I was accused of not dropping her

20 close enough to her -- to her -- her apartment

21   building.

22           Q   And that's something that you, in fact,

23 did not do; you did not drop her close to her

24   apartment building.

25               Correct?
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1        A     I -- I don't know where the actual

2    entrance would have been so I really don't know. I

3    don't know.

4                  The building had a few entrances.

5         Q        Did you ask her?

6         A        No.

                   She didn't say she wanted to be close to

8    the building or the door. I didn't know.

9                  I just thought I was dropping her in the

10   right place.

11        Q•       Okay. And did she have any words with

12   you while she was in the car?

13        A        No.

14        Q        Okay. And this complaint was brought to

15   your attention, I'm assuming, at some point soon

16 after it occurred?

17        A        I mostly learned of it after I left Yale

18   when I saw it all in writing. It was all -- it

19 wasn't -- this -- this was -- the only person I

20 discussed it with was Paul Gallipoli, but it

21   wasn't -- it was a simple discussion.

22        Q        Okay.

23        A        It wasn't me being reprimanded or

24   anything like that. It was a simple discussion.

25        Q        Okay. The question I have for you is:
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1     Was it brought to your attention --

2          A      Yes.

3          Q      -- that someone made a complaint about

      you soon after the incident occurred?

5          A      It wasn't brought to my attention that it

6 was a complaint. It was brought to my attention

7     that I didn't drop her close enough to the

      building.

 9         Q      Okay. So the first time you ever learned

10 that someone called and made a formal complaint

11 about you was after you were terminated?

12         A      No. Prior.

13         Q      Okay. So before your termination,

14 someone at Yale told you that someone you picked up

15 made a formal complaint against you?

16         A      He never used the word, formal complaint.

17         Q      Okay. I'll try it again.

18                Before your termination you were advised

19 by Mr. Gallipoli that someone you were driving made

20 a complaint about you.

21                Is that fair to say?

22         A      Yes.

23.        Q      Okay. And I'm -- the date of the

24    incident that we are talking about, and I'll use the

25 word "incident" -- I understand that you don't
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1    believe it rose to that level -- but I have

2    September 24, 2010.

3                Does that sound about right?

4         A      Probably about right.

5         Q      Okay. So it was shortly after you were

     hired as a full-time employee on a probationary

     status.

8                Is that correct?

9         A      The dates are shortly after, yes.

10           Q   Okay. And you were accused of being

11   rude.

12               Is that correct?

13           A   I don't recall what -- I don't recall.

14           Q   Okay. You have given me your version of

15 what occurred that evening?

16           A   Okay.

17           Q   What I want to know is -- whether you

18 believe it to be right or wrOng -- tell me what you

19 believe the complaint about you was?

20           A   I believe that because I didn't share

21 what was going on in our department because she

22   asked me, clearly, why I was being quiet. I don't

23   know if I ever drove the girl before. I drove many

24 people and normally I would give them a little

25   conversation.
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1                I don't know if she sensed that there was

2    a problem between my supervisor and myself or was

3    wondering why I was at the car so long, but I feel

 4   like she wanted me to talk to her about what my

5    night was like.

 6               I felt it was inappropriate to speak with

 7 a student about what was happening in my department

 8 because if I was being unprofessional I would have

 9 told her, I am not being allowed my restroom breaks.

10 I am not being allowed my lunch breaks like all the

11   other male officers.

12        Q      The question I have for you is: What did

13   Paul tell you this woman's complaint was?

14               Whether you believe it to be right or

15 wrong I just want to know, in your head, what did

16 Paul tell you this woman was complaining about?

17        A      That I dropped her off too far from her

18   building.

19        Q      Anything else?

20        A      I don't really recall.

21        Q      Did Paul ever tell you that this woman

22   said that you were rude?

23        A      He may have.

24        Q      Did Paul ever tell you that this woman

25 never wanted to be picked up by you again?
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                                                                           82

1        A     He may have.

2        Q     Did Paul observe any of your conduct that

3 evening?

4        A     No.

5              He wasn't in the car with us.

6        Q     Okay. But Paul, actually, was with you

7 before the girls came out?

8        A     I was standing at Paul's car so we were

 9 having a private discussion. But no, he was not

10 there to observe any conduct.

11        Q     Did Paul -- okay. So is it your

12 testimony that Paul was there when the girls came

13   out or was not?

14        A     One girl yelled from the steps that there

15 was going to be another pickup, which is normally

16 not allowed. And she knew that they would cancel

17   the ride if -- and I told her, No problem. It was

18   already added on and just to wait in the car. It

19 was not a problem.

20              I knew that they flagged another person

21 because I had been paying attention to the device in

22 the car that can allow another person, I believe

23   its called a flag. I can be wrong, but I believe

24   it's called.a flag, when another person is added to

25   the -- to the transport of -- last moment. I --
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                                                                           83

1    I -- everything has to be done in the computer

2    correctly.

3         Q       Okay. And when this woman told you that

4    she wasn't the original pickup, did you use any --

5    well, what did you 'tellher?

6         A       She didn't tell me she wasn't the

7    original pickup. She told me somebody else was

8    coming.

9                 And I told her, Yes. I'm aware. And I

10 told her, And you can wait in the car.

11                And she goes, We are just waiting for

12 another person. I believe she peeked back into the

13 building.

14                Paul and I were finishing a conversation

15 that he was just trying to avoid. One was about

16 getting in the car, to the best of my memory.

17 Another one started coming out and he just brushed

18   me off.

19                He said, Just go give them a ride.

20        Q       And did you use any unpleasant hand

21   gestures?

22        A       No. Absolutely not.

23        Q       So if Paul testified that he was there

24 with you and witnessed you uSing an

25 unprofessional -- sorry -- unpleasant hand movement,
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                                                                            84
1    that would be a lie?

2         A     It would be a lie.

3         Q     Okay. And if Paul testified that he saw

4    you use rude and unprofessional -- sorry,

5               That if you told the woman that you,

6 quote, Know how to read your manifest, would that be

     a lie?

8         A      That would be a lie.

 9        Q      And did Paul ever talk to you after these

10 complaints were made about you?

11        A      I approached him to ask him when I was

12 going to be getting my restroom breaks.

13               And the only thing he rudely interrupted

14   me with was that he wanted to talk about me dropping

15 a woman off in an unsafe place, but he didn't want

16 to talk about anything else.

17        Q      Did you ever have another discussion with

18   Paul after the initial discussion about this

19 incident?

20        A      I don't recall.

21        Q      Did you call him 20 minutes after he

22 first brought this to your attention --

23        A     a --
24        Q      -- and told him that you thought about

25 this situation and should not have been so abrupt
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                                                                            85
1 with the passengers and that it was not like you to

2    act that way?

3               I called him about when I was going to

4    get a restroom break. -And I told him that the only
5 thing that I did wrong was not talk to the. girlwhen

6    she wanted to.

7               Okay. So if Paul testifies that you

8 called him and you said you thought about the

 9 situation and should not have been so abrupt when

10 talking to your passengers and it was not like you

11 to act that way, Paul would be lying?

12        A      I don't recall exactly. what we said. But

13 I called to talk about a restroom break, and the

14   only thing I felt bad for the girl was that since

15 she already had a horrible night, I would never want

16 to be a part of making it worse. It's the only

17   thing I recall.

18        Q      So you don't recall telling Paul --

19        A      No.

20        Q      -- that it was not like you to act the

21 way you did?

22        A      I don't recall right now.

23               Okay. ,This.complaint, okay, we agree

24 that there was a complaint made about you during

25 your probationary period.
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                                                                           86
               Correct?

2        A     Yes.

3        Q     Would you consider that to be a

4 performance issue?

5        A     No.

 6       Q     Okay. Did you ever tell Mr. Nucci that

7 you were going to, quote, wait until your 90 days

 8 are up before blowing the lid on this place?

 9       A     I never said I would blow the lid on any

10 place in my entire life. That is a lie.

11       Q      Okay. Did you have a heated conversation

12 on September 30th with Mr. Nucci?

13       A      I don't think it was as heated as much as

14 he didn't like me finally complaining. That would

15 be probably the first time I ever told him that he

16 was part of the problem.

17       Q      Okay. So the question I have for you is:

18 Did you have a heated conversation with Mr. Nucci on

19 September 30th?

20       A      I don't think it was heated. We had a

21 conversation and he didn't like it.

22       Q      Okay. What was the conversation about?

23       A      He approached me on Park Street and he

24   asked me why I was so quiet.

25              And I said to him, Really? Are you
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1    kidding me?

2              And he goes, Well, why are you quiet?

3 Why don't you talk to anybody anymore?

4              And I explained to him that since I had

5 started in my new driving position that on a regular

     basis I wasn't receiving my restroom breaks.

7                  And let me just back up, sir, for just

8 one moment. One or two nights a week, with my new

 9 full-time position, I was a security officer on foot

10 at one of the colleges. So three nights a week I

11 drove and two nights a week I was a security officer

12 on foot. And that's where he approached me was at

13 the college that I was patrolling.

14        Q        When was this?

15        A        He approached me in maybe October, maybe

16 September, November. It was within the three month

17 period prior to me. leaving to my termination.

18        Q        All right. I guess maybe I'm talking

19 about something else then.

20                 I'm talking about a phone conversation

21 regarding a transit vehicle not being located at 100

22 Church Street South.

23                 Do you remember that phone conversation?

24        A        Oh, we had many phone conversations.

25   But -- but the question you first asked, I think, .
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1         Q     Did you ever accuse Pete Leonardo of

2    being into Nazi practices?

                Oh, yes. Not to his face, to the

4    supervisors.

5               Excuse me, can we just have the record

6 straight that I said this to the supervisors?

7                    MR. MERLY: Yeah, sure.

8                    THE WITNESS: Thank you. So this is

9               all --

10                   MR. MERLY: Yeah.

11   BY MR. DUBIN:

12        Q     How many times did you accuse Pete

13   Leonardo of being into Nazi practices?

14        A     One time. But to the supervisors.

15        Q     I understand that. You've said that.

16              Why would you accuse Pete Leonardo of

17 being into Nazi practices?

18        A     One of the supervisors, Reginald Chavez

19   (phonetic), prior to becoming a supervisor

20 complained to me when he was trying to help start

21 the union but also showing me what was ne_cessary to

22 patrol on my new full-time assignment, the two

23 nights a week at the college, that was his college

24   for quite a while. He was just transitioning from a

25   security officer into a supervisor but he was
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 1    letting off some steam because he was disgusted with

 2    the treatment of the security officers. And he told

 3 me that all of the supervisors were ignoring how he

 4    sat there with his Nazi magazines and memorabilia

 5    buying. it off of eBay and just all his craziness,

. 6   pretty much.

 7         Q     Did you ever -- referring to Mr. Nucci?

 8         A     No. Referring to -Pete Leonardo.

 9         Q     I'm sorry. Mr. Leonardo.

10               Did you ever see Mr. Leonardo with a Nazi

11 magazine?

12         A     He had all kinds of crazy magazines.

13         Q     That was not the question I asked you.

14         A     Yes.

15         Q     Did you ever see Mr. Leonardo with a Nazi

16 magazine?

17         A     They were magazines that kind of sold

 18   that sort of memorabilia, gun magazines mostly.

 19        Q     What gun magazines?

 20        A     Oh, I don't know the names of them. He

 21 would have two or three. And I would try to avoid

 22 him when he would walk into any type of room I was

 23   in. I tried to avoid him completely.

 24        Q     Okay. So since you tried to avoid him,

 25 how do you know that these magazines sold Nazi
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     memorabilia?

2         A       That's at least what Reggie Chavez said.

3         Q       Okay. So you are basing this on

 4   something that someone else told you, you never saw

5 Mr. Leonardo with a Nazi magazine?

6         A       I don't know that there are Nazi

7 magazines. I believe there's magazines that sell

 8 Nazi memorabilia

 9                Okay. I'm going off what you told me.

10 And you told me that he had a Nazi magazine --

11        A       He had --

12        Q       -- and he was buying all sorts of

13 memorabilia off eBay. I then asked you what

14 magazine?

15                You said' it was a gun magazine that sold

16 Nazi memorabilia.

17                And I said, How did you know that?

18                And you said, Well, I wouldn't look at

19   them. I would just walk by.

20                So the question I have for you is: How

21 do you know these magazines sold Nazi memorabilia or

22 do you not know?

23        A       He would be talking about it in front of

24 me, within earshot, what' he was buying and what he

25   was doing.
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  1        Q     What did he say?

           A     That he Was buying certain guns, Nazi

  3    uniforms, I do recall Nazi uniform off of eBay.

  4        Q     So you recall that Mr. Leonardo said

  5 within earshot that he was buying a Nazi uniform

  6 from eBay? That's something you heard.

  7               Is that what you are saying under oath?

  8         A     Yes.

  9         Q     When was that?

 10         A     Oh, I don't recall the date. But I know

 11 we were in the same room for, basically, roll call.

 12         Q     So when would that have been?

 13         A     Within the three months' of my getting

 14    hired full-time.

 15         Q     Okay. So it was before your probationary

. 16   period began?

 17         A     There was -- throughout my probationary

  18 period. That would be the only time that he would

  19 some into the room. He actually didn't even need to

  20 be in there. He got in earlier than me and had

  21 already been through his roll call. He would go in

  22   there just to taunt me. He didn't need to be in

  23   there.

  24        Q     Did you ever accuse Pete Leonardo of

  25   trashing people's cars?
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          A     People were scared of him and didn't want

2    to park near him, including myself.

3         Q     Okay. So if you can do me a favor and

     just listen to my question --

5         A     No.

6        6      The question was: Did you ever accuse

7    Pete Leonardo of trashing people's cars?

8         A     No.

 9        Q     So if Mr. Nucci says that during a

10 conversation between you and he, you accused Pete

11 Leonardo of trashing people's cars in the past, that

12 would be a lie?

13        A     That would be a lie.

14        Q     Okay. Did you ever accuse Mr. Ortiz,

15 Mr. Killen and Mr. Nucci of running a good old boys'

16 Club?

17        A     I never said that.

18        Q     So that would be a lie?-

19        A     That would be a lie.

20              And can I respond to that?

21         Q    Sure.

22     . A      I directly accused Richard Nucci of

23   running a boys' club. Not a good old boys' club.

24   But I accused solely Mr. Nucci of running a boys'

25   club, I was very specific about that. Never the two
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1    directors.

2         Q       Okay. There was an incident, and maybe

3    you can tell me about this, on October 1, 2010,

4, where you avoided taking any calls of a period of

     two and a half hours on Saturday night by failing to

6 sign in on the radio.

7                 Do you recall that?

8         A       I signed in. The person that signed me

 9   in, his name was Ed Fusco (phonetic). But he

10 admittedly mistakenly or forgot to sign my car in.

11 And without the transportation person following

12   through, it makes it appear as if I'm not there.

13 But he admittedly, to my face, told me that it was

14   his error.

15        Q       Explain that, explain how that works. So

16    you get your car and then you sign in?

17        A       So if you are going to start driving at,

18   like, maybe six o'clock, you get to work ten, 15

19 minutes early and you pull a key. If there's a key

20 to the vehicle and the vehicle is on site, and it

21 should be on site because the key is in that key

22   track, you go get a car.

23                You turn what is called an MDT device on.

24 You either use your cellular or you use the radio to

25 call in or you can physically walk by the office and
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1    tell them what car that you'll be driving that

2    night. So you -- you have a couple of ways to tell

3    them.

4                You tell them what car you'll be driving

     so that they canlink it to you and start giving you

6    your regular calls.

7            Q   Okay. So what did you do that night?

8            A   I went in. I pulled the key. I poked my

9 head in. I said hi to everybody in the room.

10               I told the one person that I knew I had

11   his attention, his name is not Ed Fusco. I'm sorry.

12   I'm giving you the wrong name. His name is Paul --

13   no. He's Italian. It might be Paul. But I told

14   him -- it's in all the documents. It -- it -- it's

15   there.

16               He -- I told him that I was signing in

17   with a specific car.

18           Q   And then what happened?

19           A   I did what 'everybody does, I waited. I

20   waited for a call.

21               And finally, nobody called me so I called

22 dispatch's number and asked them what the problem

23 was, why I wasn't getting any calls. And at which

24 point they apologized for and actually the person

25   I'm referring to -- and the name, it may be Paul, he
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I    said to me, You know, I'm sorry. He goes, We'll put

2    you -- we'll put you on. We didn't realize you are

3    here. It's very busy.

4          Q    So it's your testimony that you actually
5 brought this to your supervisor's attention, that

6 they didn't call you to find out where you were?

7          A    They didn't call me.

8          Q    So if Tom Helland says that he actually

9    called you because you hadn't responded to a call,

10 he would be lying?

11         A    I already told Tom, at which point that I

12 already spoke to them and it was all straightened

13 out. Because at one point a kid named Brandon

14 McCormick (phonetic) got involved, and I'm not sure

15 why, maybe because he's a good friend of Pete

16   Leonardo. And he told them that I wasn't responding

17 to calls but I had already spoke with the person

18 that actually took responsibility for not plugging

19   me into the system.

20               My -- my name has to show up as I'm on

21 that night and working. He -- there -- there was

22 already somebody there that took responsibility for

23   it.

24               Okay. You didn't take responsibility for

25   it?
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1        A       Well, I didn't make any mistakes.

2        Q       You sat -- you sat in your car for a

3. period of two and a half hours and did not receive a

4    call.

5                Correct?

6            A   There's a lot of times if there weren't

     calls on a slow night. On that night I couldn't

8 ' understand it because I was listening to the radio.

 9 I had the radio on in the car and I had my personal

10   radio on and I wasn't being given any calls.

11           Q   So am I correct that you sat there for

12 two and a half, hours and did not receive a call?

13           A   It was under two hours.

14           Q   Okay. And it is your testimony that you

15   actually called to bring this to someone's

16 attention?

17           A   Yes.

18           Q   If Tom Helland says that he had to call

19 and track you down, Tom would be lying?

20           A   It didn't happen that way.

21               Okay. And the name of the person who

22   says they took responsibility for this, you don't

23 know their name?

24           A   It may be Paul.

25           Q   Paul_ Gallipoli?
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1        A     No.

2        Q     Another Paul?

3        A     It's somebody -- it's one of the

4    dispatchers.

               Okay.

6         A     I'm -- I'm sorry, I just don't recall the

7    name. If you read through and see the name, I

8    will --

 9        Q     Okay. So that was another incident that

10 occurred during your probationary period but you are

11 saying that that had nothing to do with you, that

12 had to do with somebody else?

13        A     Yes.

14        Q     Okay. Let's talk about another incident

15 that occurred during your probationary period. Did

16 you accuse your transit dispatcher of intentionally

17 misdirecting you?

18        A     Yes.

19        Q     Tell me how that happened?

20        A     On a regular basis, and I believe it's

21 Manny Rodriguez, not Rivera. On a regular basis

22 Manny would send incorrect addresses through the

23 MDT. So if I were supposed to pick somebody up at

24   241, he might put 124. And I'd be sitting down at

25 the other end of the road and the student would come
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  1    out to me yelling to me, whistling.

  2                But I finally started taking pictures

  3 with my cellar phone to show both Paul Gallipoli

  4    and Richard Nucci what was happening -- occurring

       every night, the three consecutive nights a week.

  6 They refused to listen-to the radio transmissions

  7    and even actual proof from pictures that I would.

  8    take.

  9                I don't think somebody can give you -- I

 10 know that the transportation department gets busy,

 11 but this was regular occurrences and it would get

 12 the students directly mad at me if I went to the

 13 wrong address. But I can only go by what's on the

 14    MDT. Yes, I did accuse him of that.

 15            Q   How many times did that happen?

 16            A   Regularly.

 17            Q   Well, how many times did you complain

 18    about it?

 19            A   I complained regularly, more than a half

 20    a dozen times, and it continued to happen.. It was

  21   like a big joke around there.

  22           Q   So you think it was more than a half a

  23   dozen times?

  24           A   That I got the wrong address?

• 25               Definitely.
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                                                                            10 0

1         Q      And you believe you complained to Paul

2    Gallipoli about it regularly?

3         A      I complained to Paul; I remember the

4    female supervisor's name, Laurie, I just can't

5 recall her last name; I complained to Richard Nucci;

6 I may have complained to Tom Helland; I complained

7    to several people.

8         Q      How many pictures did you take?

9         A      Oh, several.

10        Q      Did you show all of them to Mr. Gallipoli

11   or just one?

12        A      He got -- he was furious that I took

13   pictures. He was furious. He didn't want to see

14   them.

15           Q   Can you do me a favor and just answer the

16   question?

17               Did you show them all to Mr. Gallipoli or

18   just one?

19           A   I tried to show them all.

20           Q   Do you still have them?

21           A   I might on -- I might. I might. I have

22 the old phone and if I can plug the old phone in, I

23   probably do. I may.

24           Q   Where is the phone?

25           A   If I have the phone it would be at home.
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1    college -- oh, I'm sorry. He may have been in the

2    college across the street.

3               No. He was -- he may have been the

4    college that I was assigned to. I think I was

5    assigned to Davenport..

6          Q    Do you recall an incident on October 29th

7 • where a man approached you from Davenport College

8 and crossed York Street and asked whether there was

 9 a student partying inside Saybrook College and was

10 making complaints about how loud they were?

11         A     A recall a man approaching me. At the

12   time I didn't know who it was.

13               I politely asked him who he was because

14 he seemed agitated. And I told him that we would

15 take care of it. And he actually was very happy

16 with my response.

17         Q     So you would deny that where you said

18 that you politely asked him who he was, you would

19 deny that you said in a confrontational tone, Who

20 are you2

21         A     Absolutely.

22               Okay. And you don't know who that person

23   is?

24         A     I later on found out because Richard

25 Nucci twisted the story. So I know it was a -- one
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1    of-the professors -- it was one of the deans. We --

2 we had a decent conversation and I would think

3 Richard Nucci would walk off and would actually be

4 impressed with how I handled the situation. And

     then when I saw the e-mail that he lied and said I

6 handled him in a confrontational tone, that would be

7 kind of stupid on my part in front of my supervisor

8 that I was speaking to to handle this man in a

9 confrontational tone.

10               I actually handled him in a really good

11   tone.

12           Q   Okay. So if the dean testifies that you

13 addressed him in a confrontational tone, he too

14   would be lying.

15               Correct?

16           A   Correct.

17           Q   Okay.

18                       MR. MERLY: I need to go off the

19               record for a minute.

20                     (THEREUPON, THERE WAS A LUNCH RECESS

21                     TAKEN FROM 12:47 p.m. TO 1:38 p.m.)

22   BY MR. DUBIN:

23           Q   Ms. Willoughby, we've just taken a lunch

24   break. We are back on the record.

25               What are your claims against Yale
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1    Ms. Willoughby, to make it as clear as possible, I

2    want to start with the first incident that

3    occurred --

4         A      Okay.

5         Q      -- that you believe supports your claim
6 and I want to work forward to the date of your

7    termination.

8                  Do you understand that?

9         A        Okay. There's one other very big

10   incident prior to that.

11        Q        Do you understand what I just said?

12        A        Yes. Yes.

13        Q        Okay. So let's start with the first one

14 and do your best to give me the year and month it

15   occurred?

16        A        The first month that I worked there, in

17   October of 2008, I was working at 25 Science Park.

18 I was standing with another officer named Mike

19 Guzman. Mike Guzman went inside to either relieve

20 himself or take a break, it was cold. Pete Leonardo

21 pulled up to the building in a security car and

22 demanded from me to know where Mike Guzman was.

23                 I was a bit confused because although I

24 had only been there a couple weeks, I felt that he

25 was also just a security officer and didn't
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1 understand why he was demanding to know where Mike

2    Guzman was.

3                  At which point I said to him, I'm sorry,

4    are you the supervisor?

5                  And he yelled out that he was.

6                  At which point I believe I told him he

7    was relieving himself.

8                  When Mike Guzman did appear back outside,

 9 I don't recall how long it took him, Pete Leonardo

10 came back in the car, he actually sat up the street

11 if I'm not mistaken in the car watching the front of

12 the building and waiting for, I would assume, Mike

13 Guzman. He pulled up in the car again and he

14   started yelling and asking him where his vest was.

15                 At which point, Mike Guzman had a bit of

16 a stutter to begin with, and you can clearly see was

17 intimidated and tried to tell him that he didn't

18 have it: He was yelling at him that he needed to

19 wear -- Pete Leonardo was yelling at Mike Guzman

20 just clearly embarrassing him that he needed to wear

21   a vest.

22                 At a later point that night, my

23   supervisor, my actual supervisor, Billy Abbott, I

24   don't know if he called me first or came to the

25   canal. I believe he came to the canal and asked me
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1    why Pete Leonardo was going wild. Apparently, Pete

2    Leonardo called me an f-ing bitch to Billy Abbott,

3    the supervisor, and told him that since I was such a

4 bitch he didn't want to deal with me.

5                He said that I wasn't -- I don't know --

6 cooperating with him that -- when he came to check

7    on us. So the confusion was -- I asked Billy Abbott

8 who the supervisor was because I was brand new, I

9 was 'there not even a month.

10               And Billy Abbott explained that it was

11   his fault. He apologized. He said, yeah, he was

12   using my, car.

13               I did tell him to ride by Science Park

14 but I never told him to have any conversation with

15 either you or Mike.

16               Last I know, Billy apologized and I kind

17 of knew from there to maybe just stay away from Pete

18   Leonardo.

19        Q      Okay. So how does that support any claim

20   of sexual harassment?

21               I'm not -- where is the sexual harassment

22   in there?

23               It sounds like what you just told me, he

24 was yelling at Peter Guzman and you believe,

25 although you did not hear, that he called you a
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1    fucking bitch behind your back to Billy Abbott.

2               Is that correct?

3         A     Yeah. Correct.

4               Usually you don't call a male a fucking

5 bitch and he was ranting and raving about me. But

6 Billy Abbott would have to be testified to that if

     it ever comes to it.

8         Q     Right. So you --

9         A     And I'm sure he would.

10        Q      So you didn't hear Pete Leonardo call you

11 a fucking bitch?

12        A      I heard him call me a fucking rat bitch

13 when he was talking to Damien at a later time.

14        Q      Okay. Can we stay on this incident?

15        A      Sure.

16        Q      I'll get to that.

17        A      Sure.

18        Q      So we are talking about this incident.

19 You have a claim against Yale --

20        A      Okay.

21        Q         that you, were sexually harassed and

22 you were terminated because of your gender. And

23 what I'm hearing from you is that on this date he

24 • yelled at Mr. Guzman.

25               Is that correct?
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1         A     He yelled at me and told me to stay out

2    of it and not stick up for Mr. Guzman.

3         Q     Okay. So he yelled at both you and

4    Mr. Guzman.

5                  Correct?

6         A        (The witness nods head.)

7         Q        Yes?

8         A        Yes.

9         Q        And Mr. Guzman is a male?

10        A        Mr. Guzman is a male.

11        Q        Okay. And you did not hear Mr. Leonardo

12 call you a bitch or a fucking rat bitch on this

13   incident in October of 2008.

14                 Correct?

15        A        That day Billy Abbott told me he called

16 me a fucking bitch.

17        Q        Okay. So am I correct you did not hear

18   Mr. Leonardo --

19        A        I did not hear him.

20        Q.       Okay.

21        A        That day.

22        Q        Okay. And who was your supervisor at

23 that time?

24         A       Billy Abbott.

25         Q       Did you have any other supervisors at
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1    that time?

2         A       At the time, Bob Pollack.

3         Q       Did you complain to Mr. Abbott about this

4    incident?

5         A       Mr. Abbott apologized to me and told me

6 that this was a young kid and that he was basically.

7    out of control.

8         Q       Mr. Abbott told you that Mr. Leonardo was

9 a young kid and was out of control?

10        A       Yes.

11        Q       When Mr. Leonardo pulled up, he was

12   yelling at Mr. Guzman.

13                Is that correct?

14        A       Mr. Guzman wasn't there. He was

15   asking--- yelling out of the window to -- he wanted

16 me to tell him exactly where he was. He couldn't

17 accept that he was off having a restroom break and

18 he wanted to know how long exactly he was gone.

19        Q       Okay.

20        A       A he wanted specifics.

21        Q       And tell me why you believe that incident

22   is evidence of sexual harassment?

23        A       I feel like if that was, at which point,

24 a male standing there, anybody that would stand up

25 to him, he would have handled that differently.
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1    front of me. He --

2        Q     What's Cookie's full name?

3        A     I'm sorry. I really don't know.

4    Everybody called her Cookie, and I'm sure I knew her

5    name at one point.

6         Q     What did he do in front of you?

7         A     He was saying that because she was half

8 Hispanic and half black that she played the race

9 card with management to help her whenever she got in

10 trouble. He was ranting and raving about her one

11 night at my post as I was being relieved. I don't

12 know what their problem with each other was but he

13 was clearly calling her some of the -- he didn't

14   respect females, in my opinion.

15        Q     He was calling her what?

16        A     He was calling her a fucking bitch.

17        Q     Okay.

18        A     Normally what he -- he personally called

19 me a rat fucking bitch.

20        Q     Did you make a complaint about this        so

21 this incident in October 2008, did you make a

22   complaint about Mr. Leonardo's behavior on that

23 evening?

24        A     That -- are you talking about with Billy

25 Abbott?
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1         Q     Just that incident, we are just talking

2    about that first incident.

                Did you make a complaint?

4         A     The first incident involving Mike Guzman,

5    so I'm clear?

6         Q      Uh-huh.

7         A      I didn't really have to make a complaint.

 8 Billy called me first to apologize and didn't want

 9 me to think the whole department was like that. It

10 was a brand new employee, there for less than a

11 month.

12        Q      What did he apologize for?

13        A      He apologized for him coming there and

14   acting just unprofessional. He said that he didn't

15 sent him there to have anything verbal with us.

16 That he just sent him there to make sure people were

17   on their post.

18               And he said he apologized because that

19 wasn't his job to send him there to begin with.

20 said he knew he was wrong to send a security

21   officer.

22        Q      It sounds like Mr. Leonardo treated,

23 actually, Billy Abbott worse than he treated you on

24   that incident.

25               Is that fair to say?
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1        A      I don't think that's the case.

2        Q      No?

3        A      No.

 4        Q     It seemed that based on what you told me

5    it appears, correct me if I'm wrong, that Mr. Guzman

6 was the subject of Mr. Leonardo's ranting and raving

7 rather than you?

8         A     He didn't call, from what Billy Abbott

9 told me, Mike any bad names using profanity. He

10 said that he didn't like me because I pretty much

11 think he called me a big mouth. He said I should

12 have answered his questions.

13        Q     Okay. So now you are testifying that in

14 addition to calling you a rat bitch he called you a

15 big mouth?

16        A     Oh, yes.

17        Q     Okay.

18        A     But Billy would as I'm sitting here

19 recalling our conversation, and I'm sure he called

20 me quite a few other things.

21        Q     Ms. Willoughby, what I want to know is

22 what you are --. what was told to you.

23              Okay?

24        A     Billy told me those two things.

25        Q     Okay. So you said .I'm sure he called me
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1    a lot of other things. You don't know that, is that

2    fair to say?

3         A      That's fair to say. You are correct.

4         Q      It's complete speculation on your part.

5                Is that correct?

6         A      Correct.

7         Q      Okay. And you are aware that he called

8 you a big mouth and a rat bitch on this first

9    occasion in October 2008.

10               Is that correct?

11        A      Yes, I am.

12        Q      And the reason you are aware of that is

13 not because Pete Leonardo told you but Billy Abbott

14   told you.

15               Is that correct?

16        A      Yes. Correct.

17        Q      Okay. And on this evening you would

18 agree that Mr. Leonardo attempted to embarrass

19 Mr. Guzman?

20        A      Agreed.

21        Q      It's fair to say that he treated you both

22 poorly?

23        A      Yes.

24        Q      And you didn't make the complaint to

25 anyone about Mr. Leonardo's conduct on that evening
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1    and you felt you didn't have to because Billy Abbott

2    apologized to you?

3         A     That's correct.

4               I was a brand new employee. I wasn't

5 trying to make a complaint the first month I was

6. there.

7               Okay. Do you know if anyone talked to-

8 Mr. Leonardo about his conduct that evening?

 9        A     I -- I know Billy Abbott talked to him

10 but I don't know exactly what he said to him.

11        Q     How do you know Billy Abbott talked to

12 him?

13        A     Because he told me he was going to.

14        Q     Okay. And do you know what happened?

15        A     I don't know.

16        Q     How do you know -- okay.

17              Other than Billy Abbott telling you he

18 talked to him, how do you know there was a

19 conversation?

20        A     Because that's where I think the part

21 about me being a big mouth came in because the next

22 time I talked to Billy Abbott he said the kid just

23 had no respect, he was going wild.

24        Q     And we can agree that Peter Leonardo was

25 not your supervisor?
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1         A      No.

2         Q      But you believe that Billy Abbott was

3    your supervisor?

4         A      Oh, he was my supervisor.

5                And what you believe is that this

6 incident occurred and even though you didn't

7 complain about it, Billy Abbott took it upon himself

8    to one, apologize to you and, two, speak to Peter

9 Leonardo about his conduct?

10        A      Correct.

11        Q      Okay. Let's now discuss the next

12 incident that you recall, which you believe supports

13 your claim that you were sexually harassed?

14        A      Some of the next incidents were --

15        Q      I didn't ask that. I want to know the

16 next incident. I'm trying to go in absolute order.

17 And just let me -- I want you to understand

18   something: You understand that there'sgoing to be

19 a trial in this case?

20        A      Yes.

21         Q     You understand there's going to be a'

22   jury?

23         A     Yes.

24           Q   Okay. You understand that. Okay. So I

25 want to know exactly what you are going to be
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1    telling the jury. So I want to be as clear today to

2    the best you can as it will be when you tell the

3    story • to the jury.

4                Do you understand?

5         A      Yes.

6         Q      Okay. So what I want to know is the next

7    incident you can recall in chronological order,

8 understanding that this incident with Mr. Guzman is

9 the first, what is the next incident'that you

10 believe supports your claim of sexual harassment?

11        A      One of the next incidents, I was leaving

12   work. I was in the back of Science Park. It was

13   late at night, maybe ten o'clock.

14               He and another --

15        Q      When you say "he" --

16        A      Peter Leonardo and another officer or

17   possibly two pulled up in a security car. I don't

18   know why they were there.

19         Q     When did this occur?

20         A     Probably about a month after I started

21 working there. I know it was possibly even in

22   October, possibly the first month I started working

23 there of 2008. The other officer wanted to look at

24 my motorcycle.

25               And I believe it was probably October
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1 because I wouldn't have ridden in November or

     December.

3         Q      Personal motorcycle?

 4        A      Yes.

 5               Okay.

 6        A      And they were looking at it. There were

7 two or three guys looking at it and complimenting

8    it. Peter just started running his mouth off,

 9 talking about different other females in the

10 department. And I was just trying to keep my mouth

11, shut because I already knew in my opinion that he
12 was bad news. And one kid called him an f-ing

13   asshole and said, Stop trying to show off in front

14   of her.

15               At which point the guys that were with

16 him -- I remember who it was. The kid's name was

17   Jessie. He called him an f-ing asshole and said,

18   you are just trying to show off in front of her. He

19   goes, Come on, let's not let her think the rest of

20   us are like this.

21               At which point I was putting my gear on.

22   I knew it was time to leave. I simply had to call

23   out on the radio. And prior to that, he was talking

24   about that night he didn't like Cookie. I can't

25 recall her first name, but apparently him and Cookie
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1    had some type of something going on, I just don't

 2   know what.

 3                I don't recall. I was new and I really

 4   didn't want any part of the discussion. I really

 5 didn't want any part of him even talking about

 6   females in front of me.

 7        Q       Okay. Have we discussed that incident

 8   fully?

 9        A       At this point, yeah.

10        Q       What do you mean "at this point"?

11        A       If there's a trial and they want to

12 discuss it more, we are going to be discussing it I

13   suppose. I don't know how this is all going to play

14   out. I really don't, sir.

15        Q       Okay. I have a good idea of how it's

16 going to play out.

17        A       Okay.

18        Q       And what I want to know is everything you

19   can recall about that incident. I don't want to

20 learn at trial that you have a different idea as to

21 what happened.

22                Do you understand?

23        A       (The witness nods head.)

24            ' You do?

25        A       Yes, I understand.
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                                                                            133
                 Okay. So when I say, "Is that all?"

2                And you say, "at this point," that

3    suggests to me that there may be something you are

     leaving out.

5                Do you understand?

6         A      I'm not leaving out anything.

7         Q      Okay. So that --

 8        A      That's everything I can recall.

 9        Q      Have we discussed everything that you can

10 recall as pertaining to that incident?

11        A      Everything that I can recall, yes.

12        Q      Okay. So my next question is did you

13 complain to anyone about that incident?

14        A      Oh, of course not.

15        Q      What do you mean "of course not"?

16        A      I was a brand new employee. It had to

17 have been probably October. I just got hired in the

18 middle of October. If this happened in the first

19 two weeks of getting hired, if I complained and I'M

20 working as a -- in a casual status, they simply

21 never had to make another phone call to say, Come in

22   to work. Hey, you are done.

23        Q      Okay. And I guess what I want to know is

24   how -- it doesn't sound like Peter Leonardo did

25   anything to you. It sounds like he was talk about
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1    other people during this conversation?

2         A     He was talking about• another female.

3         Q     All right. How did you -- why do you

4 believe that this was sexual harassment towards

5 you?

          A     The way I interpret that is if a female,

     me or any other female, is with all males, they are

8 brand new to the organization and the profanity and

 9 calling another woman a fucking bitch and going on

10 and on about her and talking about her being half

11 Hispanic and half African-American when I didn't

12 even know this woman, I feel like that was a little

13 too much for me to be exposed to.

14               I -- I honestly was uncomfortable. I can

15 look you square in your eyes and tell you it was a

16 hard position to be in. I remember riding home that

17 night uncomfortable. I remember saying, This is

18 what I just got hired into?

19        Q      All right. And during the same

20 conversation one of my Mr. Leonardo's peers called

21 him an asshole?

22        A      Jessie called him a fucking asshole.

23        Q      Okay. Did that make you uncomfortable?

24        A      No. Honestly, no.

25               Profanity, you know, people use it. No,
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1    it didn't make me uncomfortable.

2         Q       Why were you uncomfortable when

3 Mr. Leonardo referred to someone else as a fucking

4    bitch but when Jessie referred to Mr. Leonardo to

5 his face a fucking asshole, did that not make you

6 uncomfortable? I don't understand.

7         A       I felt like he shouldn't be talking

8 about somebody that I don't know in a derogatory

 9 manner and planting a seed. I felt like I didn't

10   like the racial aspect of it. I didn't like his

11   demeanor.

12        Q       Okay. And you believe that this

13 incident supports a claim of sexual harassment in

14   this case?

15        A       Yes.

16        Q       How so?

17        A       I feel like if that were a guy -- I think

18   he was almost trying to condition me, like, to

19 become one of these women because I had already

20 dealt with the Mike Guzman incidents to be, like,

21 one of these women to just like keep my mouth

22   shut.

23           Q    And how is it that you feel like he was

24 trying to condition you to keep your mouth shut?

25           A    Because he was calling Cookie a loudmouth
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1    and saying that she was constantly complaining, that

2    sort of thing.

3         Q     We can agree he said nothing about you at

4    that --

5         A     No. He didn't say anything about me.

6         Q     We can agree?

7         A     Yes.

8         Q     Okay. What is the next incident that you

9 can recall that you believe supports your claim that

10 you were sexually harassed?

11        A     There were several times, I don't -- I

12 can't give you dates, but several times throughout

13 quite a few months that he would ride by and --

14        Q      When you say "he" you are talking about

15   Peter Leonardo?

16        A      Peter Leonardo.

17        Q      Okay. Let me be clear.

18        A      Okay.

19        Q      Let me be vety clear here. What I want

20 to make sure we understand is, I want to know every

21 allegation that supports your claim of sexual

22   harassment, not just Peter Leonardo. And maybe it

23   was just Peter Leonardo, I don't know. That's what

24   I'm here to find out..

25               So do you understand that?
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1         A     Yes.

                Okay. We are not just talking about

3    Peter Leonardo. So when you say "he," just specify

4    who it is. And if there's somebody else that did

5    something that you believe supports your claim of

6 harassment, let me know about that too.

7               Okay?

8         A     Yes.

 9        Q     All right. So we'll continue on in

10   chronological order. And you said, Several times

11 throughout quite a few months, Peter. Leonardo

12 would --

13        A     Would come by, whether it was throughout

14 the summer months and into the winter months,

15 because I was there through October of 2008 until

16 maybe the winter months of 2009, probably close to

17   the end of the winter months of 2009, maybe up to

18   the spring. I believe it was over a year.

19               But there were several times where he

20 rode by and he would yell out of the window. He

21 actually flipped me off one time with the middle

22   finger, like, actually flipped me off. I reported

23   that to Lou.

24               Lou, he was my -- he had just been made a

25   new supervisor and then he lost his job. Lou -- I'm
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1    sorry, I'm trying to recall his last name. He

2 wasn't my supervisor long but I did report that

3    instance to him.

                 The next thing I can remember --

          Q      Well, how many times did he flip you off?

6         A      One time, I recall.

7         Q      Okay. And you said rode by, was he in a

     bike?

9         A      No. He was in a car.

10       .Q      Was he working?

11        A      He -- yeah. I think he was working.

12           Q   Were you working?

13           A   Yes.

14           Q   Okay. All right. So just so we are

15   clear here, you     there was only one time where he

16   flipped you off?

17           A   From what I recall, yes.

18           Q   Okay. And you reported this to someone

19 named Lou?

20           A   Lou Paselli.

21           Q   And what did Lou do?

22           A   Lou told me he would investigate it.

23           Q   And did he?

24           A   I really don't know. I couldn't really

25   complain. I was a casual employee trying to gain
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1    full-time status.

2          Q      Well, did you complain or did you not

3 complain?

4          A      Oh, I did complain to Lou but I didn't go

5    to HR. I complained to Lou.

6          Q      Is there any policy that says you can't

7    complain if you are a casual employee?

8!         A      I think it's just kind of common

 9   knowledge.

10         Q      So it's your testimony that when you were

11 a casual employee, you did not make complaints to

12   HR?

13         A      Oh, I never went to HR. As I -- I only

14 did that when I was a full-time -- when I was on

15 probation as a full-time employee.

16         Q      And you can agree that if HR didn't know

17 •about the complaints, there's nothing they can do

18 about them?

19         A      I agree.

20         Q      Okay. Did you tell Lou not to go to HR?

21         A      Oh, I didn't tell Lou-to do anything. I

22   just asked him to handle it.

23         Q      Okay. What is the -- all right,

24                So you made some comment about several

25   times he would drive by and yell out the window and
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  1    then he flipped you off one time. So what would he

  2    say when he yelled out the window?

  3        A       Pretty much asking me how it felt to be

  4    out in the weather. You know, in the summer months,

  5 you know, he would make it known that he had a nice

  6    beverage.

                   He would just taunt me: There was a lot

  8    of taunting, like little kid stuff.

  9         Q      What else did -- what else in this period

 10 between October of 2008 to the winter of 2009 did

 11 Peter Leonardo say to you when he would drive by and

 12 yell out the window?

 13         A      Several times when it was cold he would

 14    ask me if I was cold.

 15         Q      Anything else?

 16         A      That I could make out, no.

 17         Q      So all you can remember between October

 18    of 2008 and the winter of 2009 is that Peter

 19 Leonardo gave you the finger on one occasion and you

 20    reported that to Lou, not to HR, that Peter would,

 21 in the summer months, make it known that he had a

 22 nice beverage and in the winter months ask you if

. 23   you were cold.

 24                Is that correct?

 25         A      Yes.
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    1         Q       Anything else?

    2         A       Not that I can recall.

              Q       Okay. What next happened that you

    4 believe supports your claim of sexual harassment in

    5    this case?

    6         A       I had a walking escort. I came into the

    7    foyer. I was dripping wet. You just can't walk

    8 with an umbrella with somebody that walks twice as

    9    fast as you and she needed an escort to The Whale.

    10                We finished walking. I walked back. It

    11 was dark. It was cold. And I walked into the foyer

    12 to just stand up by the heater and --

    13        Q       What building?

    14        A       It was 25 Science Park.

    15                And I wanted to stand near the foyer near

    16 the heater and just warm up before my shift was over

    17   at 7 p.m. It was winter months. It was dark.

    18                He pulled up with -- I'm sorry. Pete

    19 Leonardo pulled up with Bill Hewitt. I don't recall

    20 who was driving. They walked in the building. They

    21   didn't acknowledge me. I didn't acknowledge them.

•
    22 And they walked up to the desk and they were talking

    23 to a security officer that worked for SSC named

    24   Damien. At a later time, Damien told me that they

    25 were trying -- that Pete Leonardo was trying to sell
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1    him a gun safe, a small gun safe.

2               Damien was in the process, I believe, of

3    trying to get his pistol permit. So he was gung ho.

4    He wanted to just buy, I guess, anything he could,

5 you know, to help him get ready for a pistol he

6 intended on buying.

7         Q     Go ahead.

8         A     And, at which point, he must have told

 9 him that he couldn't be doing -- conducting that

10 business because later on when Damien and I talked,

11 he even apologized because he felt bad.

12              And then, all of a sudden, Pete really

13   loud goes, No, she's a fucking rat bitch. I just

14   turned around. I was upset when I heard it. I was

15   clearly upset. I shook my head.

16              And at first, I really wasn't going to

17 walk in and confront him. And I said, I need to

18   confront this person. To myself -- I thought to

19 myself, I need to confront him. Clearly, the bosses

20 don't -- they are not effective.

21              And I walked up to him and Bill Hewitt

22 put his head down, he was embarrassed, like I have

23 no part in this. And Damien kind of, like, turned

24   his back, not to be disrespectful to me. But, you

25   know, he didn't want to look at me, Peter Leonardo
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1    didn't want to look at me.

2                And I asked him, Can you repeat that?

3    you have anything to say to me? Can you repeat

4    that?

5                And he'didn't want to know anything and

6    he walked by me real abrupt and he said, going to

7    the car, you know, You want to try to stay dry out

8    there?

9                Like, you know, you are wet. You know, I

10   can't remember, like, word for word but he was

11   telling me because I was soaking wet to just stay

12   dry out there. And yes, I was dripping wet.

13               Just disrespectful, that's -- that's all

14   I can recall. He left. I reported it to my

15   supervisor because I was upset. I spoke to --

16           Q   Who was your supervisor?

17           A   I believe Billy Abbott at the time

18               And I reported the instance and said,

19   this is -- this is crazy. I said, I feel like I

20   can't go to anybody because I'm in this, you know,

21   status where I'm -- my goal is to obtain full-time

22   employment but if I complain I'll never get it.

23               And he confirmed that I would never, get

24   it. And Billy Abbott confirmed and made it very

25   clear.
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1              He goes, No, you don't -- you are not in

2    a position to complain. He goes, I'll talk to Dan

3    Killen.

4               Dan Killen sent out an e-mail that I

5 provided in my response, in my rebuttal and it

6    clearly tells any officers not to yell out of the

     window to other officers about inclement weather. I

8 believe Dan Killen wouldn't have wrote that e-mail

9    if he didn't believe there was any truthful basis to

10 my allegation.

11              I feel like he really wouldn't have

12 wrote that. So it should be included in the

13 paperwork you have because I did provide it to the

14   CHRO. And he also told the officers that they

15 weren't supposed to be riding together, that it

16   should be one officer to a car. The e-mail, pretty

17 much at first, made me feel good. I really felt

18   like Dan Killen cared.

19        Q     Okay. Ms. Willoughby, you've already

20 admitted to me that up to this point you didn't make

21 any complaints about Peter Leonardo?

22        A     We are going in chronological order?

23        Q     Yeah. Yeah. So you told me that you

24   heard Peter Leonardo say that you were a rat bitch.

25 And then you testified that you need to confront
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    1    him because the bosses are not effective_ I thought

    2    you weren't making complaints because you were

    3 worried you weren't going to get full-time

    4 employment?

    5        A       I'm sorry if.I confused you. But I mean

    6 formal complaints to HR or even going directly to a

    7    director.

    8                When Billy Abbott told me that he, like,

     9 actually took it all the way up the next day to Dan

    10 Killen, I was nervous. Billy Abbott is actually the

    11 one that provided me with the e-mail.

    12        Q      But prior to this point in time -- okay?

    13 -- prior to the point in time where this incident in

    14   Science Park where Pete Leonardo Said that you were

    15   a rat bitch -- and by the way, that's something he,

    16   didn't say to your face, you overheard that.

    17               Correct?

    18        A      Yes.

•   19        Q      Okay. Prior to that point did you ever

    20 make any complaints about Peter Leonardo?

    21        A      The first instance, Billy came to me when

    22 Mike Guzman was involved. The other times, when he

    23 was yelling out of the car, I kept all of that to

    24 myself up until the time where he was in 25 Science

    25 with Damien.
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1        Q        Right.

2        A        And he had called me a fucking rat bitch.

                  Right.

4        A        Then I went with -- I -- I told Billy

5    about that and I told Billy -- I'm sorry. Please

6 ask me the question again.

7        Q        Did you make any complaint about Peter

8 Leonardo before this incident in Science Park where

 9 he called you a rat bitch?

10        A        Well, not really. Billy came to me the

11   first time.

12        Q        Okay.

13        A        I was just scared to make complaints.

14        Q        Okay. And --

15        A        I'm sorry if I'm confusing you.

16        Q        You are not confusing me at all.

17                 So this was be the first time you made a

18   formal complaint --

19        A        Yes.

20        Q        This was the first time you made a

21   complaint.

22                 Correct?

23        A        That would be probably the first formal

24   complaint. I can recognize that e-mail.

25        Q        Okay. This time that we are talking
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    1    about right now, this is the first time you made a

    2    complaint about Peter Leonardo?

    3         A    Yes.

    4              Okay.

    5                      MR. DUBIN: And why don't we mark

    6-             that as an exhibit.

    7         A     That I recall.

    8                     (THEREUPON, DEFENDANT'S EXHIBIT NO.

    9                     2, E-MAIL SENT TO BILLY ABBOTT FROM

10                        DAN KILLEN, WAS MARKED FOR

11                        IDENTIFICATION.)

12       BY MR. DUBIN:

    13        Q     So why don't you tell me if you can

14       identify what we've marked as Defendant's Exhibit

    15   No. 2?

    16        A        It's an e-mail sent to Billy Abbott from

    17   Dan Killen.

    18                 The reason I -- and this was given to me,

    19 this copy of Billy Abbott's personal e-mail from Dan

    20 Killen, there was a little more under here, maybe

    21 the time stamp.

    22                 I had to -- I had to rip it in half

.
    23 because as it was handed to me minutes after Billy

    24   left, somebody was, I believe, attacked in the canal

    25 and she approached me. Somehow -- I can't remember
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1    the specifics -- a lot would go on or she was

2    approached by a male but I ripped this off to get

3    all her information that day.

4                 But I got this the next day. .So I want

5    to say I probably got this on a Tuesday. And Bill

6 Abbott was handing this to me to assure me that he

7    took my complaint serious. And I remember just

8    standing there being nervous just saying, oh, wow.

9 Now this kid is going to know that I complained and

10   it's probably going to get worse.

11        Q       Okay. So this e-mail was handed to you

12   shortly after the incident we just discussed, the

13   Science --

14        A       Probably the next day.

15        Q       Okay.- Shortly after the incident in

16   Science Park?

17        A       Correct.

18        Q       Okay. So what we do know is that when

19 you did finally make a complaint, it was addressed?

20        A       Yes. It was addressed.

21        Q       Okay. And this e-mail of March 1st,

22   2010, you believe supports the fact that it was

23   addressed?

24        A       I believe this line -- do you mind?

2         Q       Go ahead.
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  1        A       I believe when he says, "I have received

  2    a couple of complaints in the last two weeks

  3 complaining that officers are driving around and

  4 making comments to other officers regarding being

  5    exposed to the weather, this behavior must stop."

  6         Q      Okay. And it doesn't say anything about

  7 being limited to female officers, it says officers

  8 making comments to other officers.

  9                Correct?

  10        A      I was the only one that complained. He

  11 was just trying to let him know.

  12        Q      Okay.

  13        A      I -- I -- it's speculation. It's -- this

  14   is clearly speculation. But I believe, to my

  15 knowledge, I was the only one that made that

  16 complaint.

  17        Q      Okay. But you are not aware of any other

• 18   person --

  19        A      No

  20        Q      -- making or not making complaints?

  21        A      No, I'm not.

  22        Q      Okay. So then -- so we have this

  23 incident where you were wet and Pete called you a

  24   rat bitch, you complained, and then Dan Killen

  25   addressed it.
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                                                                           150

1                Correct?

2                      MR. MERLY: I'm going to object.

3          A     That was about --

                       MR. MERLY: I'm going to object to

5                •the form of the question.

6                      You can answer that.

7          A     That was two separate incidents.

8    BY MR. DUBIN:

 9         Q     Okay.

10         A     That was him yelling out to me from the

11   car about being soaking wet on several occasions.

12 He did this on several occasions. The incident in

13 25 Science where Damian was involved and he called

14 me an f-ing rat bitch, that was on a different

15 night. But when he walked by he told me to try to

16   stay dry.

17     •   Q      Okay. So that's why I'm trying to go in

18   chronological order here so that I understand it

19 because you told me about that incident and then

20 you told me about this e-mail. So that incident

21 that we just discussed where he called you a fucking

22   rat bitch, did that happen before or after this

23   e-mail?

24         A      That happened, I believe, after the

25   e-mail.
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1    separated themselves from 13 supervisors in my

2- department.
                 When did that occur?

          A      I believe in the spring, Maybe in the

5    spring of 2009. I believe so. I believe it

6    was the -- I believe it was the spring of 2009, just

7    a couple months after I was there. I had no idea

8 what was going on.

 9               Ails I know is I left my other job and I

10 needed to work full-time, that was it.

11               So you believe Billy Abbott was gone?

12               Billy Abbott was one of the people that

13 was let go?

14        A      Billy Abbott was one of the ones that

15 was -- I don't know exactly what Yale did with him:

16 They -- I don't know if it was fired or terminated.

17        Q      Okay. What is the next event that you

18 can recall that you believe supports your claim for

19   sexual harassment in this case?

20        A      There were several more times of him

21 driving by so the e-mail literally meant it was a

22   joke to him.

23         Q     So he continued to drive by after the

24   e-mail was sent?

25         A     Yes.
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1         Q      Did you complain about those incidents?

2         A      I told Richard Nucci that Pete was

3    continually disrespectful to me. We were standing

4    in Science Park and he basically fluffed me off and

5    didn't want to hear it.

6              H And then the next time I --

7         Q      When was this?

8         A      It was in -- he was first hired. It was

9 probably the first month that he was hired and I

10 thought that maybe --

11        Q      When?

12        A      I don't know. The first month he was --

13   meaning Richard Nucci.

14        Q      You are telling me that --

15        A      He was

16        Q      Let me just be clear.

17               You are telling me that even after this

18   e-mail of 2010, there were more instances where Pete

19 would drive by- and yell at you?

20        A      Yes.

21        Q      And what would he say when he mould yell

22   at you?

23        A      Pretty much always joking about me being.,

24 out in the weather, and me having to deal with the

25 neighborhood people, and just always some -- some
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1      nonsense. A lot of times you couldn't really make

 2     out what he was saying.

 3                  How many times did he drive by you after

 4     this e-mail was written?

           A        Probably two or three.

6           Q       In those two or three time he would talk

7      about the weather.

8                   Correct?

 9          A       Or whatever he was saying. I really,

10 honestly, couldn't make it out but it would be

11 directed towards me.

12          Q       Okay. Ms. Willoughby, what I need to

13 know is what you remember him saying. Did he talk

14 to you about the weather or do you not know what he

15     said?

16          A       I don't know what he said those times.

17             Q    Okay. So the two or three times he would

18 drive by and say something out the window, you have

19 no idea what he said?

20             A    No.

21 -           Q    I am correct?

22             A-   Yes.

23             Q    Okay. And you made a complaint? It's

24 your testimony that you made a complaint about these

25 two or three times when Mr. Leonardo drove by after
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1    this e-mail was written?

2        A         I attempted to speak to Richard Nucci.

3        Q     And who is Richard Nucci?

         A     He was hired as a supervisor in our

5    department.

6        Q     And who did he replace?

7        A         They fired 13 people and hired five,

8    maybe.

 9        Q        Okay.

10        A        So he replaced maybe a couple of the 13

11   people.

12        Q        What did you say to Mr. Nucci?

13        A        You know, I told him that my goal was to

14 obtain full-time status because I knew that in the

15 department you needed your, supervisors to kind of,

16 maybe, help you. I did talk about Pete Leonardo to

17 him and then knew I made a huge mistake because I

18 found out that they were riding around together and

19 that he was making statements, meaning Richard

20 Nucci, that Pete Leonardo was the backbone of the

21 department.

22                 Quote/unquote, Pete Leonardo was the

23 backbone of the department.

24                 Okay. So if you can just do your best

25 here and try to answer my question.
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1           A     Yes. Sorry.

2           Q     I want you to listen to my question --

            4     Okay.

 4          Q•    -- and then I need you to answer my

5    question.

            A     Okay.

                  I understand that you are frustrated with

     what happened to you at Yale. Okay. I understand

 9 that. You have a tendency to want to, you know, put

10 as much as you can about your frustrations in your

11 answer. We'll get to that and you're going to have

12 the opportunity to talk to me about that.

13                Okay?

14          A     Okay.

15          Q     But the question I asked you is: What

16 did you talk to Mr. Nucci about when you made the

17   complaint?

18          A     I talked to him about Pete Leonardo and

19 the recent yelling out of the window.

20          Q     And based on your own testimony, you

21 didn't know what Leonardo was saying?

22          A     I told him prior that he had flipped me

23   off.

24          Q     Okay.

25          A     And that I had reported that to Lou
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                                                                            159
1    Paselli. I told him prior that he talked about me

2    being out exposed to the inclement weather.

3                 Okay. And we know that some attempt was

     made to address concerns about him yelling out of

5 the window through this March e-mail?

6         A       Yes.

7                 Okay. Since the March -- after the

8 March e-mail, there were two or three times where

9 Leonardo would drive by and you have no idea what he

10   said, and after that you maid a complaint to

11   Mr. Nucci.

12                Correct?

13        A       Yes.

14                After that complaint to Mr. Nucci, you

15 were telling him about what occurred before that

16 . e-mail.

17                Correct?

18        A       Yes.

19        Q       And did you also tell him that he had

20 driven by two or three times since but you don't

21   know what he said?-

22        A       Yes.

23       - Q      Did you want Mr. Nucci to do something

24   about this?

25        A        Yeah.
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                                                                             160

  1         Q      What did you want him to do?

  2         A      Maybe talk to him. Maybe let him know

  3    that it was inappropriate.

  4         Q      What was inappropriate?

  5         A      Him being a security officer in Yale

  6 University uniform screaming out of windows to a

  7    coworker.

  8         Q      Did you tell Mr. Nucci that you felt that

  9 you were being sexually harassed?

 10         A      I don't know what -- I don't recall my

 11 words at the time and I don't believe that I would

 12 have said that at the time.

 13         Q      What do you recall other than complaining

 14 that he was yelling out the window?

 15         A      I recall that right around the time when

  16 I found out that they were buddies, I probably made

  17   a mistake by telling him anything.

  18        Q      Okay. That wasn't the question.

  19        A      I'm sorry. One more time, please

  20        Q      What do you recall telling him?

  21        A      I recall telling him that he was

  22   inappropriate, that he had yelled out of windows to

 •
 23    me as of recent and prior.

  24               And the recent yellings, you couldn't

•25 possibly have told Nucci what he said because you
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1    didn't know?

2        A       No, I didn't.

3         Q      Okay. And the prior comments, those had

4    to do with the weather?

5         A      Yes.

6         Q      Okay. What next occurred?

7                I guess the question I should ask is:

     Chronologically, what incident do you next rely on

9 to support your claim of sexual harassment in this

10   case?

11        A      So I was stationed shortly, probably

12 within a week after meeting Nucci, in another

13 position and working third shift so I never saw

14   Leonardo. Leonardo's hours were two to ten. They

15 were always two to ten when I worked there.

16               I worked third shift. I didn't see

17   Peter Leonardo for almost a year and everything was

18   great.

19           Q   So this was --

20           A   Everything was great. I worked at the

21   Yale Health Plan third shift.

22           Q   When did that transition occur?

23           A   Probably in the spring of 2009.

24               And I stayed at the Yale Health Plan

25 third shift for approximately a year and never saw
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1    Leonardo and that was the best year that I had

2    working there.

                Were you transferred in response to any

4    complaints that you made?

5         A     Oh, no.

6               Yale -- the building was done -- the

 7   Winchester building start -- they started moving the

8    employees -- the employees that I was -- I was

9 pretty much stationed in Science Park for a visual

10   for, like, a liaison between the neighborhood people

11 and the employees that weren't comfortable that they

12 were getting moved to a different area that they

13   felt was unsafe.

14              They no longer needed my services at -- I

15 was simply being moved because now the Yale Health

16   Plan was being built.

17        Q     Okay. Keep going.

18        A     And they needed -- and needed -- they --

19 there was 24 hour -- 24 hour coverage and I was

20   given third shift. And I didn't see Pete for almost

21   a year.

22        Q     Did you have any complaints within that

23   year?

24        A     No.

25        Q     There were no complaints whatsoever,
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1    there's no incident that you are relying on to

2    support your claim of sexual harassment during that

3 period?

4         A       Did I make any complaints?

5         Q       Is there any incident that you are

6 relying on to support your claim of sexual

 7   harassment

 8        A       No.

 9                -- for that year period?

10        A       No.

11                I used to hear that he talked about me

12   all the time, like, a lot but it didn't matter to

13 me as long as I wasn't dealing with him face to

14   face.

15           Q    What year period was this?

16           A    It was probably I got moved there in

17   2009, probably the spring of 2009. I think that's

18 when they started construction of the hospital or

19   maybe sooner.

20           Q    Okay.

21           A    But that's when I was placed there.

22                When they started construction, the bear

23 bones, they didn't really have us there 24 hours,

24   it's when they started closing it in

25                So this is —the spring of 2009 to the
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1    spring of 2010?

2         A     I got full-time and that's when my job

3    changed again, and that's when every night I dealt

4    with Pete Leonardo.
                In September of 2009 -- of 2010. So for

6 a year, from 2009 to -- I went full-time status for

7    about a year I was at the hospital.

8         Q     Ms. Willoughby --

9         A     I'm sorry. I'm bad with dates.

10        Q     Ms. Willoughby, listen, we are doing all

11 right so far. We are going through your employment

12 at Yale which began in October 2008.

13        A      Uh-huh.

14        Q      We've just gotten to a point in time

15 where you told me that there was a year period where

16 you did not have a complaint.

17               Correct?

18        A      Yes.

19        Q      Everything was fine?

20        A      Yes.

21        Q      You do not believe that you were the

22 victim of any sexual harassment at Yale for that

23   year period.

24               Correct?

25        A      No.
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1        Q     I am correct?

2        A     Yes.

3        Q     Okay. What I want to know is that year

     period started at what month and year and ended at

     what month and year?

6        A     I don't recall the exact date that I was

7 placed on third shift at the Yale Health Plan. I

8    know it's approximately a year.

9         Q     Okay. That year ended with you becoming

10 a full-time employee?

11        A     Correct.

12        Q     Okay. So well, that helps. .

13                     MR. DUBIN: So let's mark this as an

14              exhibit.

15                    (THEREUPON, DEFENDANT'S EXHIBIT NO:

16                    3, LETTER OF FULL-TIME EMPLOYMENT

17                    DATED SEPTEMBER 14, 2010, WAS MARKED

18                    FOR IDENTIFICATION.)

19   BY MR. DUBIN:

20        Q     All right. I'm marking Exhibit 3. Do

21 you recognize that document?

22        A     Oh, yes.

23        Q     What is that document?

24        A     This is the letter of full-time

25 employment.
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                                                                           166

1        Q       Okay. That's Exhibit 3. And that -- so

2    and the date on that letter is September 14th?

3        A       Yes.

4        Q       Okay. So you became a full-time employee

5    on or about September 14, 2010?

6         A      Yes.

7         Q      Okay. Is it fair to say then that this

8 period of time where you did not experience any

9 harassment began in September of 2009?

10        A      Yes.

11        Q      Okay. So for the period of time between

12 September of 2009 and September 2010, you have no

13 complaints whatsoever regarding your employment at

14   Yale?

15        A      I didn't have any complaints.

16               Okay.

17           A   Oh, excuse me.

18           Q   Go ahead.

19           A   I -- I went to a bike class and I'm so

20   sorry because this is huge. I went to a bike class

21   in the summer of 2009. This is probably the worst

22 and the biggest -- biggest complaint I have.

23               I went to a bike class that Billy Abbott

24 helped me get in. Two other people were scheduled

25 from my department to get in the class and one was
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 1   terminated, it was Francisco Ortiz's nephew. And

 2 when Peter Leonardo found out that I was going to

     the class, he told Billy Abbott, If she's in it, I'm

 4   in it.

 5             And he was -- had the ability to take the

 6 boy that was terminated's place. I wanted the class

 7 because I ultimately wanted to become a bike

 8   officer, that was my goal. When we went to the

 9   class, Peter Leonardo was showing off in front of

10 several different police departments because this

11 was mostly police departments that had their people

12   there for the training.

13              The class was at Southern Connecticut

14   University -- yeah, Southern. And I don't recall

15   the instructor's name at the moment. But this is --

16   if -- this is huge. I am in the class and,

•
17   apparently, one day my menstrual cycle had started.

18   I didn't know it until the end of the day. My

19 clothing showed otherwise though.

20              So the next day when I went in, I

21 obviously was prepared with female protection. And

22 it's clear to me that in the bag I had with my lunch

23 and all my personal items -- when I found out that

24 they were opened and exposed, when I went back into

25 my bag later on -- there was one point where I went
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     to the restroom and Pete Leonardo, it was clearly

2    his voice, yelled, Are you going to change your

3    tampon.?

4               I didn't ask for a restroom break, it was

5    just the time allotted for the entire class to g

6    and have a break. He Yelled it in front of

     Christino Ocevado (phonetic), who was in the class.

8 And if he needs to -- if this goes to trial, I

 9 hope my lawyers call him because he witnessed it

10   and he yelled out, Are you going to change your

11   tampon?

12               When I got back, I was just clearly

13 embarrassed and stayed a distance aWay from

14 everybody. At this point I didn't even know that he

15 had went into my bike bag, and I have to assume that

16   it was him. So no, I don't have a crystal ball to

17   say for sure it was him. But later on in the day,

18 when I went into my bag where all my personals were

19 that was attached to the bike, all the female

20 products were unwrapped.

21               But at which point, when I got back, he

22 was apparently sleeping with one of the supervisors

23 in the department named Beth. Beth was a transit

24   dispatcher who was one of the 13 that ldst her job.

25 He was bragging to all the guys in the department
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                                                                           169
1    how he was f-ing her but he -- he was telling

2    everybody. He was very loud, very boisterous and I

3    was just blown away.

 4               I clearly felt embarrassed prior that he

5 yelled out, Are you going to change your tampon? I

6 know, due to my clothing the prior day and all the

 V   strenuous work we were doing on the bikes, that I

 8 was probably a mess but I couldn't determine that

 9 my cycle was going to be happening. I had no

10   idea.

11               And when he started after getting back

12 from the bathroom and already hearing him make

13 mention of my tampon, I was embarrassed. I was

14   clearly embarrassed. I stayed away from the group.

15 I kept my head down. I already knew this kid was

16 not a good person and now he's talking about f-ing

17   his supervisor Beth.

18               Beth was a transit dispatch supervisor

19 that apparently was sleeping with him from what he

20   says. And I -- I knew it was just clearly -- I

21   felt -- I felt -- I don't know but I felt that he

22 was doing this to make me uncomfortable. I felt

23   this way.

24               And, sir, honestly, there were just so

25 . many different things with him.
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1         Q       Well, that's what we are here to talk

2    about.

3         A       'These are the big things.

 4        Q       No. No. No. No. No. We are going to

5 talk about whatever it is that happened that you are

 6 relying on to sue my client.

 7                Do' you understand?

 8     - A        Correct.

 9        Q       So let's talk about this one and I want

10 to make sure we talk about all of them.

11        A       Sure.

12        Q       So what relevance does the fact that he

13 was sleeping with Beth have to do with this

14   incident?

15                I mean, I understand that you were

16 embarrassed when he talked about your menstrual

17   cycle.   I guess I don't understand how you

18 interpreted this comment about him sleeping with

19 Beth as any type of sexual harassment, unless I

20 missed something so explain that to me?

21        A       So most men, in my experience, that have

22 any kind of respect for a woman, probably save those

23 discussions to talk about with the boys.

24        Q       But he was having that discussion with

25   other men?
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1          A      It was all men. I was the only female in

     the class.

3          Q      Okay. And this was a class that you got

     into because your supervisor helped you get into

5    it?

6          A      Billy Abbott did help me get into the

7    class, yes.

8                  So this is a class of all men?

9          A       Yes.

10         Q       And your supervisor at Yale assisted you

11   in getting into this class?

12         A       Yeah. Oh, Billy was good to me.

13         Q       Okay. And this class of all men other

14 than you, you said that you were embarrassed so you

15 walked away from --

16         A       I walked and sat under a tree. It was

17   summertime.

18         Q       All right.

19         A       I don't recall the exact month. I sat

20 under a tree because we all had -- that was our time

21   for lunch or a restroom break.

22         Q       Okay. And while that was happening,

23 Peter was talking to other men about how he was

24 having some type of intimate relationship with his

25   supervisor?
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                                                                             172

  1        A      Yeah. He -- he probably should have kept

  2    his voice down.

  3        Q-     But you were not involved in that

       conversation?

  5         A     No.

  6         Q     Okay. Now, were you being.paid for this

  7    class?

  8         A     Oh, yes.

  9         Q     Okay. Who from Yale was at the class?

 10         A     Ocevado. Christina Resto Ocevado

 11    (phonetic), he has the two last names.

 12         Q     What's the first name?

 13         A     Christino, Chris. Probably go by Chris

' 14   if that's better.

 15         Q     Okay. Ocevado?

 16         A     Resto.

 17         Q     Okay.

 18         A     Ocevado. He's --

 19         Q     When is the last time you talked to Chris

 20 Resto Ocevado?

 21         A     When I got fired he sent me a real nice

 22 text and said if I ever needed anything to call him,

 23 but I never did.

 24         Q     And let me ask you this: Were there any

 25    supervisors at this class.?
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                                                                           173

1        A        The Southern -- not our supervisors.

2        Q        That's what I want to know.

3        A        Only -- only -- only Yale people.

4        Q        Okay. Did you --

5        A        Three Yale people, including myself.

6        Q        Did you report what occurred about your

7 menstrual cycle -- I'll just call it the menstrual

8    cycle issue -- did you report that to anyone at

9    Yale?

10        A       The only time lever reported that was to

11 Richard Nucci and Kristen Albez (phonetic). And

12 they both told me, because they were new, that I

13   couldn't report anything old.

14           Q    Okay. When did you report this to Nucci

15   and Albez?

16           A    When I went to Kristen Albez when I was

17   on my 90-day probation for full-time status.

18                Okay. So this class was in the summer --

19           A    It was in the summer.

20           Q    -- of 2009?

21           A    Yes.

22           Q    Okay. And you chose to wait a year and a

23 half to make that report?

24           A    Oh, I'm sorry. I think it was 2010. It

25   was 2010.
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                                                                           178

1    embarrassed you by making reference to your

2    menstrual cycle?

3           A   Yes.

4           Q   We can agree that you did not make any

5 complaint about that until Some time after September

6    of 2010?

7           A   Actually, I did discuss it with Billy

8 Abbott and he explained to me that since nothing was.

 9 happening that I was better off trying to keep my

10 mouth shut prior to going full-time.

11          Q   What do you mean, "nothing was

12 happening"?

13          A   Well, he even felt like this fell on deaf

14   ears because --

15          Q   Ms. Willoughby --

16          A    Okay.

17          Q       I want to focus you on this incident

18   now.

19          A    Okay.

20          Q    What do you mean, "nothing was

21 happenihg"?

22               Yousaid you talked with Billy Abbott

23 about this incident and Billy Abbott told you, since

24 nothing was happening keep your mouth shut;

25               What does that mean?
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                                                                            182

1         Q     Okay. Again, I wasn't asking that.

2               Mr. Killen was the appropriate person to

3    report it to?

4         A     Yes. He would be the next in the chain

5 of command.

6         Q     Okay. And you knew that at the time?

7         A     Oh, yes.

8         Q     So this bike class ends and now you

9 believe that it was in 2009 not 2010?

10        A     I think it was in the summer of 2009.

11        Q     Okay. And you believe that because there

12 was a year period where you were essentially

13 harassment free?

14        A      Yes.

15        Q      Okay. And that took us up to September

16 of 2010, when you began working full-time?

17        A      Yes.

18        Q      Okay. And it was after that when you

19 made a complaint to Richard Nucci about the incident

20 in the bike class some 18 months earlier?

21        A      Yes.

22        Q      Okay. Mr. Nucci, was he a supervisor?

23        A      Oh, yes.

24        Q      And was he on the same level as

25 Mr. Killen?
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1        A     No.

2        Q     Below Mr. Killen?

3        A      Yes.

4        Q     And Ms. Albez, you said?

         A     Kristen Albez.

6         Q    And was she a supervisor?

7         A     HR specialist.

8         Q     And did you make a complaint to Kristen

9    Albez, the HR specialist, about this incident that

10 occurred some 18 months earlier?

11        A    •No. I made a -- I complained to her the

12   last three months I was there. I sat down with her

13 two separate times.

14        Q     Okay. Now, I what I want to do is I'm

15 going to treat everything that happens after the

16 September 2010 incident kind of separately. What I

17 want to know is have we discussed in your mind all

18 examples of sexual harassment between the date you

19 were hired as a casual employee up until the date

20 you were hired as a full-time employee on

21   September 14, 2010?

22        A   . What we've discussed so far is what I aan

23   recall right now, yes.

24        Q     Okay. All right. And how long have you

25 known that your deposition was going to be taken
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1    sexual harassment that support your claim from

2    September of 2010 up until the date of your

     termination?

          A     A lot of it, when I first got hired as a

5    full-timer, was the he said/she said. Different

6 officers were coming up to me and saying that Peter

7 Leonardo was really upset that his friend, Brandon

8 McCormick, that was a dispatcher didn't get

 9   full-time and they hired me.

10              He couldn't understand, thinking Brandon

11 was a better candidate. At which point he said to a

12 kid named Richard Mongillo in front of a group of

13 Yale police officers, I believe there may have been

14   some New Haven police officers; Richard Mongillo,

15 Pete Leonardo, there were several men there.

16              He started saying to Richard Mongillo, he

17   goes, What's going up with you -- going on with you

18   and Melita? And just all this sort of stuff.

19   goes, Common, common.

20              Acting as if there was something sexual

21 going on. He heard that we were taking motorcycle

22   rides, you know, out of state and that sort of

23   thing.

24        Q     Peter Leonardo said to Richard Mongillo

25 in front of other officers, What is going on between
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1    you and Melita?

2        A      Right.

3        Q      And "you," being Melita?

4        A      Right.

5        Q      Because you were taking motorcycle rides

6    out of state?

7        A      And at which point, you know, Richard

8    already knew that him and I just weren't friendly

 9 with each other. Richard knew that I avoided Pete

10 and Pete made it known to everybody that he used the

11 word to everybody, he hated me; called me a

12 loud-mouthed bitch, called me a fucking bitch, and

13   again, called me a fucking rat bitch within earshot.

14 So it was pretty clear that Peter Leonardo didn't

15   like me.

16              He asked him if he was riding dirty with

17   me. In my opinion, in front of all these men, he

18   was trying to insinuate if we were having any type

19   of, like, sexual contact or affair. And Rich

20 Mongillo told me that he tried to stop the

21 .discussion and he just continued with asking him

22   questions about me, like what goes on with these

23   rides?

24              And when I spoke with Rich, I said what

25 you need to tell him is that my husband is on all of
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     these rides, that's he's always there.

2               And he goes, Well, you know, don't say

     anything. He goes, you know, he's buddies with the

4    bosses.

5               I said, I get all that. But I said out

6 of respect for me, please tell him that my husband

7    is on all these rides.

                There was pure recreation. People that

9 rode motorcycles, they are going nice places, nice

10 restaurants on the weekend.

11        Q     Okay. What next?

12              By the way, you said Peter thought

13 Brandon was a better candidate than you?

14        A     Yes.

15              He was telling several employees that --

16        Q     That's what I want to know, who was he

17 telling? Who were the employees?

18        A     He told Rich Mongillo.

19        Q     Who else?

20        A     He was standing in front of a room full

21 of transit dispatchers because Brandon McCormick was

22 a transit dispatcher at the time and he was in the

23 room just shooting his mouth off while I was out on

24 the street working in one of the security vehicles

25 just doing my transports. He was shooting his mouth
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1    off that night that basically. I wasn't -- I

2    shouldn't have gotten full-time status.

3               When Rich told me, I remember saying,

4    Please, I really don't want to hear this because

5 it's more aggravating than anything knowing that

6 he's standing in a room full of people speaking

7    derogatorily about me.

8               Brandon was in the room at the time I

9    heard.

10        Q     Well, did you ever complain to your

11   supervisors about this?

12        A     When I spoke to Paul Gallipoli and

13 Pete -- Rich Nucci the next time, I was telling them

14 about what was going on with Manny. I was not

15 trying to run to them with every little thing. They

16   really didn't care about that.

17        Q     Ms. Willoughby, if you can you answer my

18   question --

19        A        No, I didn't.

20        Q     Okay. So we can agree --

21        A        Not at that time.

22        Q        So this interaction that you were having

23 with Peter Leonardo where he was telling people

24 that he thought Brandon was a better candidate, and

25 you never reported that incident to your
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1      supervisors.

2                 Correct?

3           A     No, I didn't.

                  Okay. And this incident where Peter

       Leonardo was asking Richard Mongillo what was going

6 on in these bike rides, you never reported that to

.7     your supervisors.

8                 Correct?

 9          A     Those two things got reported to Kristen

10 Albez when, at the very end, prior to getting

11 terminated, when I went to her at the very end and I

12 believe that's what led up to my termination.

13          Q     Okay.

14          A     So I didn't --

15          Q     When they occurred you didn't report

16 them?

17          A     No, I did not.

18          Q     Okay. What occurred next that you

19 believe supports your claim for sexual harassment?

20          A      So on a regular basis when I would go in

21 to pull a key, anybody that had the ability to --

22                 Paul Key?

23          A      Pull.

24          Q      Pull a key?

25 •        A      Pull a key.
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1    dorm in, he would .get on the radio and lie and say

2    that he was busy doing something rather than doing

3    his job. And then somebody like me would get called

     to do it.

5         Q      Okay.

6         A      Any time I got on the radio --

7         Q      Well, let's stick with that.

8         A      Okay.

 9        Q      So how do you know he wasn't busy?

10        A      Other security officers would know that

11 he was sitting in transportation.

12        Q      Who?

13        A      Several.

14        Q      Who?

15        A      Richard Mongillo would be talking about

16 it, a couple of the different security personnel

17   excuse me -- the transit dispatchers. There was a

18   woman named -- I'm sorry, I can't recall her name.

19   There -- I don't recall a lot of their names. I

20 haven't been there for more than four years.

21               They were clearly upset that he'd be

22   sitting in their area just shooting his mouth off

23 about everybody and everything and they would verify

24 that he was doing nothing or they would say that he

25 would sit in the TV room next door just watching a
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 1    football game or whatever the case.

 2           Q   How many times did that happen?

 3           A   Regularly.

 4           Q   Did you report that to your supervisors?

 5           A   When I finally. started telling them in

 6 the last couple months in November and December

 7 what was going on, pretty much the first couple

 8 weeks I kept my mouth shut. In October when hired

. 9   for a full-time status just wanting to keep clear of

10    him.

11               So you didn't report it when it occurred?

 12          A   Not the exact night.

 13              Okay. You waited until the last either

 14 November or December before your termination?

 15          A   I believe so..

 16          Q   Or you were terminated December 6?

 17          A   Yes.

 18          Q   So it was roughly the last month before

 19 your termination you reported it?

 20          A   Yes.

 21          Q   Okay. And how was this sexual

 22 harassMent?

 23          A   In front of people he regularly referred

 24   to me as a loud mouthed..bitch. That's usually- a

 25 derogatory word for a woman.
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1        Q      In front of you?

2        A      No.     In front of other people.

3        Q      Other people told you this?

4        A      Oh, yes.

5        Q      Who?

6        A      Richard Nucci.

7               Excuse me.     Richard Mongillo.     My

8    apology.   Richard Nucci was the boss.

9                Richard Mongillo.

10        Q      Okay.    Who else?

11        A      I'm trying to recall.

12               At this time I can't recall the name.

13        Q      So the only person that you are aware of

14   today that told you that Peter was calling you a

15   loud-mouthed bitch was Richard Mongillo?

16        A      Yes.

17        Q      And this was in the period of time

18   between September 14, 2010 and your termination?

19        A      Yes.

20        Q      And you did not report this to your

21   supervisors?

22        A      Not at that time.

23                       MR. DUBIN:' Why don't we take a

24               short break.     It's about 3:15.

25                     Is that okay?
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1    instances, some are really horrible sexual

2    harassment and this is just part of his maybe hatred

3    towards me.

4         Q        Okay. So what is the next --

5        A         Or maybe even towards women.

6         Q        You don't know?

7         A        I won't know.

8         Q        Okay.

9         A        Maybe we'll never know.

10        Q        Okay. What is the next incident that you

11 have to support your claim?

12        A        I had to be on the radio several times.

13 Whether I was working in the car or on foot, any

14 time I got on the radio he pressed the squelch

15 button to completely disrupt my transmission. He

16 laughed about it.

17                 He'd make voices on the radio and I felt

18   it was directed toward me. I went to Paul

19 Gallipoli. I also spoke to Richard Nucci. I asked

20 them to listen to the radio transmissions, whether

21 it was involving him or Manny Rodriguez to hear all

22   of the, just craziness going on in this department,

23 which so many other people had the ability to hear.

24   I just felt they would feel like it would be worth

25 listening to. I felt it would validate everything
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1    that I said to them.

2         Q      And did they listen to them?

3        A       They claimed when we were at the CHRO

4    that there were no radio transmissions to listen to

5    and the person that was doing the cross-examination,

6 that was pretty interesting because she -- she knew

     and believed in such a big department that there

8 was -- that they had the ability to do this but they

 9 claimed that they didn't have the ability to do

10   this.

11           Q   Ms. Willoughby, if you can listen to my

12   question. You are telling me that Peter Leonardo

13 was on the radio and every time that you went on the

14   radio he would press button to squelch your voice

15 and then he would laugh at you on the radio.

16               Is that correct?

17           A   Yes.

18           Q   Okay. And you complained about this to

19   Paul Gallipoli and Richard Nucci?

20           A   Yes.

21           Q   At the time it happened or again, right

22 before you were terminated?

23           A   Oh, one night that it happened a month or

24   so before. An easy month or so, probably in the

25 beginning of November, I asked them to please start
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  1                     THE WITNESS: I'm sorry.

  2                     MR. MERLY: All right.

  3    BY MR. DUBIN:

  4                You don't know for sure whether they

  5    listened to any radio transmissions?

            A      No. But if they -- I asked them to.

  7         Q .    Okay.

  8         A     'I did ask them to.

  9         Q      But you don't know whether they listened

 10 to them?

 11         A      I don't know.

 12                        MR. DUBIN: Can you mark that as an

 13                exhibit.

 14                    (THEREUPON, DEFENDANT'S EXHIBIT NO.

 15                    5, COMPLAINT, WAS MARKED FOR

 16                    IDENTIFICATION.)

 17    BY MR. DUBIN:

 18         Q      Can you read paragraph 13 out loud,

 19    please?

 20         A      "The plaintiff" --

 21                        MR. MERLY: So the record is clear,

 22                you are reading from Defendant's Exhibit

 23                5, which is the complaint in this

• 24               lawsuit.

 25         A      I'm sorry. Just give me one moment.
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1    may not be true.

2                 Is that fair to say?

3         A       If I asked him to listen to them and he

     claimed he listened to them, I don't know for sure

5    that he did. I wasn't there when he listened to

     them. I would have liked to be present.

7                 Okay. Do you have any other evidence of

8 discrimination or sexual harassment that you'd like

 9 to discuss with me today that you haven't already

10   discussed?

11        A       When I was sitting in a roomful of

12   officers for a roll call, Peter Leonardo walked in

13   and was clearly upset with me. Let me -- let me,

14   please, go backwards.

15                One day before work while I was on my --

16 in my probationary status, it was October of 2010,

17   it was a really warm day. A girlfriend and I

18   decided to go for a ride.

19                We went for a ride. We were coming back

20 on Whitney Avenue in Hamden. I believe we turned

21   right on Temple Street. As we approached the light,

22 I want to say it was Temple and Grove -- Grove

23 and -- I'm trying to remember the names of the

24   streets but maybe Temple and Grove.

25                We get to a light. A security car pulls
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1    over to the right of us as •we are sitting at the

2    light both on separate motorcycles. I had to be to

3    work for six o'clock, 6 p.m. It may have been maybe

     three, three o'clock.

5               We are at the light. I see a security

6    car. Pete Leonardo jumps out. I was going to nod

7 my head and smile, just trying to keep the peace.

8    He walks by the bikes, really hostile, really scary,

 9 giving me this look where he doesn't stop looking at

10 me in kind of like a hostile manner.

11              The woman I worked with and I had just

12   finished eating lunch. We never discussed the

13 university because I really don't like discussing

14 work and I didn't want to just down myself because I

15 knew I was going through a lot of bad stuff at

16 work, never mentioning work anything going on

17 there. She was taken by that whole thing because

18   she knows I work for the university as a security

19 officer but was confused why he came by us in that

20 manner and walked around the bike when he didn't

21   need to.

22              He should have walked in front of his

23   car. He literally walked around the bikes.

24        Q     Were you working at the time?

25        A     I wasn't at work. I was going to go home
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1      and get prepared for work. I was going to go home

2      and prepare for work. I didn't need to be to work

3      until about six o'clock.

4           Q       So the answer to my question is, No, you

5      weren't working at the time.?

            A       I was employed at the university.

7           Q       You hadn't punched in? You weren't being

8- paid?
9           A       No. -

10          Q       This was on your personal time?

11          A       No. I was on my personal time.

12          Q       Was Peter working?

13        ' A       Yes.

14          Q       And you were stopped at a light, you were

15     on a bike?

16          A       We were both on bikes.

17          Q       Were you on separate bikes or the same

18     bike?

19          A       Separate bikes.

20             Q    And Peter got out of a car and walked

21     around the bike?

22             A    Really kind of weird, hostile.

23 •                She .first looked at me as he's away from

24     the car and she goes, Do you know him?

25                  I nodded.
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1               You know, one of the questions was, Don't

2    you work for the university? I think that was

3

4               I nodded, Yeah.,

5               She goes, Do you know him?

6               J nodded, Yeah.

7               And before the light changed she was,

     like, What was up with that?

9               I said, Oh, long story.

10              And we left.

11        Q     Did you report that to your supervisor?

12        A     Later on, yes.

13        Q     When you say "later on," that day?

14        A     Probably yeah because --

15        Q     Probably or definitely?

16        A     Yes.

17        Q    'Okay.

18        A     Because --

19        Q     To whom?

20        A     To Richard Nucci.

21        Q     Okay.

22        A     So yes.

23        Q     When was this?

24        A    'I don't recall the exact date.

25              But the next night in work, Peter '
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1    Leonardo -- but would you like me to finish with

2 what the woman said to me?

3           Q   You can. Go ahead.

4           A   She was a little concerned about just the

5 behavior. Again, she didn't know anything was going

 6 on at work and she didn't understand why he was just

7    so scary looking. This kid is about six-two.

8               And she later on asked, you know, what's

 9 going on with that, when she asked me if I knew

10   him.

11              And I said, Oh, long story. This is

12   something that's been going on. I said, you know

13 what, it's not really even worth getting into but I

14   think her -- her concern was he's in uniform and

15   acting kind of belligerent, if you will. In my

16 opinion, that was the way he was acting. At which

17 point I --

18          Q   We can agree he didn't say anything to

19 you whatsoever?

20          A   He didn't say anything at all.

21          Q   Okay. Go ahead.

22          A   He said nothing.

23          Q   Okay.

24          A   But it was alarming to her. And I would

25 have never said anything. She couldn't see my eyes
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 1    our houses. And at each light there wasn't really a

 2    lot of time to, like, get into that. I told her,

 3    just another time.

 4               At which point I went to work, I believe,

 5 the next night or couple nights because I already

 6 had time to see Nucci. I could only see Nucci

 7    before ten in the evening. His hours were, like,

 8    two to ten, the same as Pete's. And at which point,

 9    I told him whole story.

10               He kind of laughed it off. So he said,

11 Oh, he didn't say anything to you?

12               And I looked at him and I said I don't --

13    I think you are missing the point. For a stranger

14    to the university to sense such hostility. She

15    goes, it was scary, like, you don't know if he's

16    going to come push you off the bike. Like, the

17    woman was scared. She was clearly scared. At which

18 point I turned around and this was just our

19    conversation but she was alarmed.

20                And at -- and I'm telling him this story

21    and he is like, Oh, well, he didn't say anything to

-22   you.

23                fsaid, At the very least, maybe he

24    should have said hello rather than acting scary to

25    us.
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1               Okay. All right.

2        A      So --

3               Okay.

4        A      And at this point --

5        Q      When was this?

6        A      This probably was in October or

7    September. Probably -- I don't think I would have

8 ridden in November. Qsually I put the bike down for

 9   the year every October.

10        Q     All right, Any other instances of sexual

11 harassment that you can recall?

12       A      So after telling Nucci this story, he

13 apparently went back to Pete. And Pete made it a

14 'point to come into roll call one night when he

15 already had roll call prior that day. And he came

16 in and from behind me in a really loud voice,

17   crackled voice, he was like, Hi, Melita. And it was

18   just really long and drawn out. So I just kind of

19 put my. head down.

20        Q     He said hi to you?

21        A     Yes.

22        Q     Okay.

23        A     So I just put my head down and I just

24   didn't say anything and he started taunting me.

25        Q     Taunting you how2
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1            A   Wanting to know why I wasn't saying hi

2    back.

3                And I looked up at him and I said, Pete,

 4   would you just please be consistent.

5                Richard Nucci was acting at the head of

 6 the table like he didn't hear or see any of this, he

 7   just kept thumbing through his papers. So as

 8 Richard Nucci sat to the head of the table and Pete

 9   and I were across from each other, I already had a

10 feeling that Richard Nucci had approached him about

11 what I said to him concerning me and my girlfriend

12 and him being in a vehicle stopping on Grove and

13   Temple.

14           Q   Okay.

15           A   And going to the building to the right,

16 which -- but long story short, he turned around and

17   he said, I'm saying hi to you, and that sort of

18   thing.

19               And I'm looking at him and I said, Could

20 you just please be consistent. Everybody in the

21   room laughed at him, just laughed at him.

22           Q   Okay. So you believe that this incident

23   occurred at some time in October of 2010. It did

24 not occur while you were at work?

25           A   No
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1        Q      And you reported it to Mr. Nucci.

2               Correct?

3        A      Yes.

4        Q      And Mr. Nucci talked to Pete about it.

                Correct?

6        A      I believe he did talk to him.

7        Q      You believe he did.

8               And in response to that, you believe at

 9 roll call, Peter walked in and said hello to you?

10       A      After that, he turned around and said --

11 when I said, Could you just please just be

12 consistent, he turned around and said, after

13 everybody laughed at him, I like inconsistency --

14   well, I like inconsistency.

15              And I said nothing further. Well, at

16 which point, when finally I get Yale's response,

17 Richard Nucci clearly lies. There were a room full

18   of people, about a dozen people, and says that Pete

19 tried to be nice to me and say hello but that I said

20   I like inconsistency.

21              Well, that doesn't even make sense. And

22 there were a room full of people that witnessed me

23   say, Would you please be consistent.

24              When Nucci tried to discuss that with me,

25 because I said to him, I wish I never complained to
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1    you, the next time Nucci and I were together, I

2    said, I wish I never complained because Pete made a

3    joke out of it and you sat there when that was

4 probably the prime time to remove us both from the

5    room or wait until roll call.

6               And so Nucci didn't like me telling him

7 how to do his job. And that was the night that

8    the remark about a good old boys' club was made.

9 It was never made about Dan Killen or Francisco

10   Ortiz.

11        Q     Okay.

12        A     And I never said a good old boys' club.

13   I accused him of running a boys' club for this

14   reason, because he sat in the room as I was

15   humiliated.

16        Q     And I want to go back to the bike

17   incident just for a second. You said you told --

18   that menstrual cycle incident.

19                 You said you told Billy Abbott but Billy

20 did not tell Dan Killen?

21        A        I don't know if Billy did or not. I

22 believe that they were having problems at the time

23 and I believe that he may not have told him. He may

24   have told him.

25        Q        You don't know?   •
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1        A       I don't recall.

2        Q       All right. I'm just going to hand you

3    your complaint again.

4                In paragraph 14 of your complaint in

5    reference to the tampon incident, it says, "She

6 complained about these matters to her then

7    supervisor, Billy Abbott, who alerted assistant

8    director, Daniel Killen."

 9               Why in your complaint did you tell me

10 that Billy Abbott did tell Dan Killen but today you

11   are telling me you don't know whether that

12   occurred?

13        A      I'm sorry. I'm trying to recall

14   everything as best as possible and I will say I

15   don't recall.

16        Q      Okay.

17        A      But now, even -- there are facts, things

18 that have happened that was hard for me -- I work

19   third shift. I'm usually tired and I'm honestly

20 trying to keep up with all of this. And I will get

21 better rest and I will take a couple more days off

22   if in fact this goes trial because I'm really

23   trying.

24        Q      Well, let me say something here. I

25 mean --
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1        A      I mean, this was --

2        Q      Go ahead. This was what?

3        A      Go ahead.

                I mean, you understand the importance of

5 the oath you took this morning?

 6       A      I do.

 7              Okay. You swore to tell the truth?

 8       A      I am telling you the truth.

 9              Okay. And I asked you in great detail

10 about why you didn't report this tampon incident to

11   Dan Killen. And we agreed that Dan Killen couldn't

12 possibly do anything if he didn't know about it and

13   you said yes.

14       A      Okay.

15        Q     And you said you waited 18 months to make

16   a report of this to Mr. Nucci.

17              Correct?

18        A     When --

19        Q     Is that you told me?

20        A     Yes.

21        Q     Okay. But --

22        A     When.

23        Q          in the complaint that's not what it

24   says. The complaint says that you were aware that

25   you told Billy Abbott who told Mr. Killen?
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1         A     Yes.

2         Q     So this is the story that you told at the

3    beginning of this lawsuit that was filed on May 5,

4    2014. But here we are almost a year later and

5    it's- -- you are telling me something different so I

6    donit understand that.

7         A     The only response J can give you is so

8 much happened and with all the people coming

 9 together, I, guarantee you somebody will get -- and I

10 believe it's going to happen when a Richard Nucci

11 has to come face to face -- when we were all at the

12   CHRO, there were so many contradictions on his part,

13   on Paul Gallipoli's part, on Kristen Albez' part,

14   including Dan Killen's part.

15              So much had happened with this kid. And

16 you asked me if I think about this at work. No, I

17   try to put this out of my head. I'm just happy that

18   where I work I don't deal with any of this. I'm

19 happy for all the other jobs that I haven't dealt

20 with any of this.

21              But, sir, I have told you the truth and

22   I'll continue to tell the truth. And I feel like

23   that's the only thing I have on my side. I'm

24 wondering if the incident happened around the time

25   of the memo. I'd have to look at the dates and try
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1    to figure it out.

2               I do know that Billy told me when he had

3 approached him a few times that they were having

     problems themselves, that I do know.

                So Ms. Willoughby, I'm not concerned

6 about what your perception is of confusion that

7    other people who testified at the CHRO hearing had.

8    I'm primarily concerned with inconsistencies between

9 what you have alleged in the complaint and what you

10   are testifying here today, that's my concern.

11 Because Yale takes these allegations very seriously

12 and you've said certain things in your complaint and

13 you are saying different things today under oath.

14              Now, you are telling me that you have

15   tried to forget about these things, that you are

16 working third shift and you are not getting much

17   sleep. Am I to believe that you are not prepared to

18   testify today?

19        A     I took the night off to sleep. And

20   honestly, since I've been working third shift I'm

21   not -- I'm not myself.

22        Q     Okay. Well, tell me what you want to do

23 because what I need to know is that when you testify

24   it's truthful. And I need to know --

25        A     It is truthful.
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             EXHIBIT 2
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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF CONNECTICUT




    MELITA WILLOUGHBY,
                     Plaintiff

    VS

    YALE UNIVERSITY,
                       Defendant




               Continued deposition of MELITA WILLOUGHBY
               taken at the offices of John R. Williams &
               Associates, 51 Elm Street, Suite 409, New
               Haven, Connecticut, before Audra Quinn, RPR,
               Licensed Shorthand Reporter #106, and Notary
               Public, in and for the State of Connecticut
               on May 20, 2015, at 10:10 a.m.




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1                     MS. WILLOUGHBY: This was not provided

2                to the CHRO, and I got that at a later date.

                      MR. DUBIN: Let's mark that as an

4                exhibit.

5                (THEREUPON, DEFENDANT'S EXHIBIT C,

6                       EMAIL DATED 6/17/10,

7                 WAS MARKED FOR IDENTIFICATION.)

8    BY MR. DUBIN:

9                What is this document you claim was not

10 provided to the CHRO?

11        A      So when the CHRO originally asked for any

12   type of discipline to all security officers, this is an

13 email from Richard Nucci to Daniel Killen and Francisco

14 Ortiz that Peter Leonardo was giving him a lot of

15 trouble trying to just take time off when he felt like

16 it, walk into the office on the day of and ask for

17 personal leave. When he didn't get his way, he would

18 get upset, and he would try to get other people to

19 lobby for him because he would want to go to, say, a

20   gun show.

21               So this appears to be -- it's a June 17,

22   2010, email regarding Peter Leonardo's counseling?

23        A      Correct.

24               And it appears from this -- well, do you read

25 this to mean that Peter Leonardo was being disciplined?
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                                                                 9




1         A    The way I take the email is that they were

2    just talking about what do we do with this employee.

     don't believe he was disciplined because he took time

4    off when he felt like it. The person that lobbied for

5 him is the president of the union and his friend and

6 his partner within their gun business. They have a

7    business together.

8              Additionally, I feel as if Richard Nucci

 9   couldn't tell him you can't have the time off, and then

10 when Judy told him he couldn't have the time off, who

11 was another supervisor, he went behind her back, and

12 this is Richard complaining that he went behind Judy's

13 back and still tried to get the time off. Pretty much

14   he -- the way I take the email is what do we do with

15   this employee. I don't think that was discipline.

16        Q    The email says, "I also told him that if he

17 books off, he will have a disciplinary problem. A few

18 days ago he stated I may have to book off sick since

19 Judy denied him the same. I was very clear that I did

20 not want to hear this from him again, whether next week

21   or in the future, and he has had to be on site by 4:00

22   on Wednesday, and I may keep him until 12 a.m. if I

23   need to cover something elsewhere."

24              So this appears to be a dispute between

25   Mr. Leonardo and Mr, Nucci, does it not, about taking
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1    time off?

2         A      It does.

3                And Mr. Nucci is a male; correct?

          A      He is.

5                So Mr. Leonardo was having difficulty with

     other people, not just you. Isn't that correct?

7         A      Mr. Leonardo had problems with several

8    people.•

9                Males as well as females; correct?

10        A      Males as well.

11               It seems like Mr. Leonardo had somewhat of a

12   personality issue. Isn't that correct?

13        A      You could say that I guess.

14               Now, the document that you have brought with

15 you to the deposition in support of your contention

16 that Yale University did not provide certain documents

17 to the CHRO, can you tell me who that document was

18   cc'ed to, when it was sent to you?

19        A      This document?

20               Yes.

21        A      Suzanne Westhaver.

22               Who is Suzanne Westhaver?

23        A      She is the CHRO -- she was the hearings

24   officer, but this came more than probably six months,

25   closer to a year after she requested everything in the
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                                                                15




          A    No. You're the first person that asked me to

2    provide them the last time I was here. That's why I

     brought them. They never asked me for those.

4               (THEREUPON, DEFENDANT'S EXHIBIT D,

5                           PHOTOGRAPH,

6                WAS MARKED FOR IDENTIFICATION.)

7    BY MR. DUBIN:

8              Showing you what's marked as Exhibit D. Can

9    you identify that document?

10        A    It's a picture I provided of an MDT screen

11   that I attempted to show to Paul Gallipoli, possibly

12   Richard Nucci, telling them that the person that was

13   directly -- the dispatcher, Manuel, Manny Rivera,

14   wasn't giving me any restroom relief breaks, my

15   lunches, was giving me continuous rides, but also

16   sending me to the wrong addresses. Some of them have

17   addresses in there, and they said that he accidentally

18   inverted the addresses, but I think he was purposely

19   trying to make me fail at my new position. I was on

20   probation --

21        Q     Ms. Willoughby, what does this picture show?

22        A     It shows an MDT. It shows times. It shows

23   79 House Street, but these times would have meant

24   something at the time. Right now I can't tell you

25   specifically what I was showing Paul Gallipoli, but
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1              Are there any incidents that you can recall

2    that you did not discuss with me that support your

     claim of sexual harassment and gender discrimination

4    that occurred before you were made a full-time employee

5    in September of 2010?

6         A    I do recall -- I remember that one thing I

7    forgot to tell you, on a regular basis Peter would tell

8    the different employees, mostly male employees, to feed

9 me cheese because I was a rat. So aside from calling

10 me an F'ing rat bitch to Damien who worked for SSC

11 while I was in a foyer and was able to hear him through

12   this glass as he stood there and spoke to another

13 person about me. He would, yes, tell people regularly

14   to feed me cheese.

15              There were quite a few things that I may have

16   forgotten. Is this the question you're asking me, sir?

17              I want what I'm trying to figure out is every

18 incident that you are relying on to support your claim

19   of sexual harassment and gender discrimination.

20        A     Would you like me to go back from the very

21   beginning?

22                No, I don't because then we're just

23   recreating the wheel. I want you to tell me -- I don't

24 want to go back over and discuss other incidents that

25 we've covered already exhaustively during the first.
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1    If there are other incidents that you did not discuss

2    with me, tell me about them.

            A Did I discuss Peter Leonardo's father with

4    you?

5               You said he worked there.

6               Before you get to that, how does the fact

7    that Peter Leonardo called you a rat suggest that he

8    was discriminating -- Yale was discriminating against

9    you because you're a female?

10          A   Well, usually you don't call guys bitches.

11   He called me a fucking rat bitch. I was actually able

12   to hear him through the glass, and I did approach him

13   that day and asked him if he wanted to repeat that to

14   me. I approached him in front of Bill Hewitt and

15   Damien.

16               That was in the very beginning of your

17   employment; right?

18          A    That was probably about six months in.

19               You just told me about a separate incident

20   where on a regular basis he would tell employees to

21   feed you cheese?

22          A    Yes.

23               So the question is how does that support a

24   claim of sexual harassment or gender discrimination?

25               Usually when You call somebody a rat bitch,
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1    and even with my own ears heard him call me a fucking

2    rat bitch.

          •       On one occasion?

4         A       On one occasion I heard that with my own

5 ears, and I confronted him in front of two other

6 people, and usually you call females bitches.

7                 So what you just said is that on a regular

8 basis he would tell mostly male employees to feed you

9    cheese because you were a rat. You didn't say a rat

10   bitch. That was a different incident. You said rat.

11 So the question I have is how does that support your

12   claim of gender discrimination and sexual harassment?

13        A       I'm sorry if I left out bitch, but he would

14   regularly call me a bitch to people, a rat bitch.

15                And only one of those occasions you heard it

16 with your own ears?

17        A       I heard him call me a fucking rat bitch with

18   my own ears.

19                On one occasion?

20        A       Yes.

21                The other occasions were you learned that

22 from other people?

23        A       Yes.

24                And the one occasion where he called you a

25   fucking rat bitch it was not to your face. It was
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1    I think he was in a building, and you were outside a

2    building. Is that correct?

          A    I was inside the glass foyer at 25 Science

4    Park. There was a lobby desk with a contracted

5    security officer named Damien. I don't recall Damien's

6    last name. He took a gun safe in or was trying to get

7    him to buy a gun safe. They were discussing a gun

 8   safe, and as I glanced over at the desk, Damien was

9    scared because he didn't want to be discussing things

10   with him that he shouldn't be discussing with him, and

11   as he looked over at me, Peter told him to dismiss me.

12   He basically told him she's a fucking rat bitch, and I

13   was shocked when I heard that. I always knew he talked

14   about me that way, and I walked in there and I

15   confronted him and asked him if he wanted to say that

16   to me.

17              And he did not?

18        A     He wouldn't say that, but he basically

19   laughed at me and told me to try to stay out of the

20   weather because I was soaking wet. I just did a

21   walking escort with a woman and walked her down to the

22   skating rink in the dark, in the cold, and it was a

23   raining, pouring rain night. And there was an email

24   written because when I complained to Billy Abbott

25   because it was just too over the top that this
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1    happened, finally Dan wrote an email, and it was the

2    first time that anybody really acknowledged his bad

     behavior. The email, I have it with me.         m sure you

4    have it.

5               (THEREUPON, DEFENDANT'S EXHIBIT W,

6                       EMAIL DATED 3/1/10,

7                WAS MARKED FOR IDENTIFICATION.)

8    BY MR. DUBIN:

9         Q     This is a March 1, 2010, email marked as

10   Exhibit W. Is that the email you're referencing?

11        A     Yes.

12              What's the significance of that email?

13        A     Billy Abbott gave me this email to assure me

14   that he took my concerns and my complaint to the next

15   level. Dan Killen doesn't talk anything about him

16   calling me a fucking rat bitch, but he does say that

17   he's tired of or does not want the bike officers

18   driving cars all the time if there's not inclement

19   weather, and he doesn't want them yelling out to other

20   officers that are on foot patrol, such as myself, in

21   inclement weather to try to stay dry, to try to stay

22   warm, because this was a pretty much regular occurrence

23   that he did to me.

24              And the night that I was soaking wet, after I

25   called him, caught him talking about me in that manner,
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1    I simply wanted this to stop. I went to Bill Abbott in

2    hopes that maybe he'd talk to him because I knew me

3    talking to him wasn't going to go anywheres. When I

4    confronted him, I didn't confront him angry. I

5 confronted him and asked him to repeat what he said

6    about me because I was hoping this would stop. I'm not

7    a rat and I've never been a rat.

8         Q     And so you took it to Billy Abbott, and Billy

9 Abbott, you believe, took it to Dan Killen because

10   Dan Killen wrote an email; correct?

11        A     Yes.

12              So you had a concern. You addressed it with

13   a supervisor. It was sent up the chain of command, and

14   it was addressed?

15        A     And then they fired Billy Abbott.

16              Can you answer the question? You had a

17   complaint; correct?

18        A     Yes.

19        Q     You addressed your supervisor; correct?

20        A     Yes.

21              It was taken up the chain of command;

22   correct?

23        A     Yes.

24        Q     And it was addressed; correct?

25        A     It was addressed as best as they could I
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1    suppose at the time.

2              And the reason that you were offended by the

     comment was because I think you just said you're not a

4    rat and you've never been a rat?

5         A    I have never been a rat, and I don't want to

6    be called a bitch. That's just sexist talk.

7         Q    Okay.

8         A    It's derogatory to any woman. You know, I

9 feel I go to work and I put my best foot forward for

10 anybody I've ever been employed by, and to go to work

11 and be disrespected and terrorized by somebody that

12   shouldn't even have been at that location doing

13   something he wasn't supposed to be doing. What they

14   really should have disciplined him for was him trying

15   to sell a gun safe while he was supposed to be being a

16   security officer.

17              We --

18        A     What they really should have disciplined him

19   for was him calling me an F'ing rat bitch. They did

20   somewhat address it, but they didn't address it fully.

21 Really Dan Killen should have pulled us both in the

22   office and talked to us face to face.

23        Q     That happened at one point, didn't it?

24        A     No. Dan Killen never addressed both of us

25   face to face.
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1           •    We can agree that it sounds like you believe

2    that Peter Leonardo was a bad guy?

            A    I believe he's a very troubled person.

4                And a lot of people, I'm assuming, shared

5    your belief?

6           A    Oh, I feel a lot of people share my belief.

7           Q    Males and females; correct?

8           A    Males and females.

9                Because he was rude to males and females;

10   correct?

11          A    I think a little more rude to females.

12          •    That wasn't the question I asked you.

13          A    He was rude to both male and female.

14          •    And offensive to both males and females;

15   correct?

16          A    Yes.

17          •    Can we agree, in investigating the sexual

18   harassment case and claim, did he ever touch you

19   inappropriately, make any unwanted sexual comments to

20   you?

21          A    He never touched me inappropriately, but when

22   we were at bike class together, he made some really bad

23   comments.

24               This was the menstrual cycle issue?

25          A    Yes.
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 1             And we addressed it at the last time, so I

2    don't want to go back into it, unless there's anything

     you want to add?

 4        A    I spoke to Billy Abbott about that. Dan

5    Killen never addressed that with him. This is huge.

6              This was in 2009?

7         A    I have to look at the certificate. I was the

8    last class that ever actually went to one of these

 9   classes and passed this. I was the only person that

10 went to this class that was never allowed to ride a

11 bike. So you thought it was important that they let me

12   go to the class because it was males that let me go to

13   the class, but really I never was allowed to ride a

14   bike after that.

15        Q    So this was July 9, 2009. That's when you

16   completed the class?

17        A    I completed the class, which very few females

18 have ever completed in any department across the entire

19   state.

20             And in fact, your supervisor helped you get

21   into this class, you being the only female that was in

22   this class; correct?

23        A    He helped me and then he was fired.

24             If you just listen to my question. Can we

25   agree that your supervisor at Yale helped you get into
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1    this all male class?

2         A     He helped me, yes.

          •     And the class was completed on July 9, 2009;

4    correct?

5         A     That's the date, yes.

6               Has anyone shared with you what the statute

7    of limitations is to bring sexual harassment claims?

8         A     The statute of limitations, I don't know the

9    exact dates, no.

10              So what I want to do is -- this is the

11   original certificate; correct?

12        A     Yes.

13              And I don't want to mark this as an exhibit.

14   I know I asked you to bring that. We discussed that

15   last time. Can we just take a quick break and we'll

16 get a copy? I know you have a couple other

17   certificates in there. Are there any others?

18        A     (Witness complied.)

19        Q     I don't need that.

20        A     I'm sorry. I do have my diploma. That just

21 happened to be in there. I actually do have the high

22   school diploma.

23              Anything else in there?

24        A     This is something to do with the bike class,

25   to continue taking -- there's a group of people after
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1    passing that class, that was given to the entire class.

2                       MR. DUBIN: All right. I don't need

3                this. These two I do need, so can I get

4                copies of these documents?

5              (THEREUPON, A BRIEF RECESS WAS TAKEN.)

6             (THEREUPON, DEFENDANT'S EXHIBITS X AND Y,

7                            CERTIFICATES,

8                 WERE MARKED FOR IDENTIFICATION.)

9    BY MR. DUBIN:

10        Q      Ms. Willoughby, I'm going to show you what's

11 been marked as Exhibits X and Y. First I'm going to

12   show you Y. That has, "State of Connecticut certifies

13 that Melita A. Willoughby has completed all

14   requirements," and it goes on, it says, "to be awarded

15 her diploma in compliance with the rules and

16   regulations of the State Board of Education." It's

17   January 9, 2001. So that's the date on which you were

18 awarded your high school diploma?

19        A      Okay.

20               Is that a yes?

21        A      That's the date on there, yes.

22               Then I'm going to show you Exhibit X. This

23   is a certificate of completion of the bicycle class you

24   referenced in your last deposition?

25        A      Yes.
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1              When I reread the deposition, it appeared you

2    weren't certain whether the class was in 2009 or 2010.

     Does this certificate confirm that the class was in the

4    summer of 2009?

5         A    Yes, it does.

6              And your termination was on December 6, 2010?

7         A     Yes, it was.

8               (THEREUPON, DEFENDANT'S EXHIBIT Z,

9                            AFFIDAVIT,

10               WAS MARKED FOR IDENTIFICATION.)

11   BY MR. DUBIN:

12        Q     When you went to the Commission On Human

13 Rights and Opportunities to complete the affidavit of

14   discrimination, did you have counsel?

15        A     No, not at all.

16              You did it on your own?

17        A     I did everything on my own.

18        Q     And when did you initially retain counsel?

19        A     About a week before the fact finding and that

20   was proved to be a big mistake. The attorney sat there

21 and texted the entire time, and when he called my name

22   out twice, it was wrong both times. He had no idea

23 what was going on. He never provided me with Yale's

24   response, so I was never afforded the ability to read

25 all the different lies that Richard Nucci and
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1    that correct?

2         A    Correct.

               What is the next incident, if any, to support

4    your claim of gender discrimination and/or sexual

5    harassment that occurred between the time you were

6    hired as a casual and the time you were hired as a

7    full-time?

8         A       Since I was not able to read the last

 9   deposition and look at everything, I believe I told you

10   almost everything I can recall.

11                Then what we're going to do, I just want to

12   take a five minute break. I want to now get into those

13   incidents that occurred after you were made a full-time

14   up until the point in time you were terminated. Okay?

15        A       Yes.

16                  (THEREUPON, A RECESS WAS TAKEN

17                       FROM 11:35 TO 11:42.)

18   BY MR. DUBIN:

19                Ms. Willoughby, whenever you're ready, why

20   don't you tell me in chronological order all of the

21   incidents that support your claim for sexual harassment

22   and/or gender discrimination between the time you were

23   hired as a full-time in September of 2010 to the date

24   of your termination.

25        A       When I was originally hired full-time and the
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1    rest of the department got the memo of the few people

2    that were selected, I was told by Richard Mongillo that

3 when Peter Leonardo found out I was selected and not

4    his friend in dispatch, Brandon McCormick, that I was

5    selected full-time and not his friend Brandon, how did

6 that bossy bitch get selected or pretty much why was I

7    selected and not his friend.

8              Well, you said bossy bitch and then you said

9 pretty much. Tell me exactly -- was this something

10   that was told to you?

11        A    Yes. So I wasn't there, but I was told

12 pretty much the context of him being how upset he was

13   that I was made full-time and not his friend.

14        Q    Who told this to you?

15        A    Richard Mongillo.

16        Q    And Richard Mongillo is a coworker?

17        A     He's a coworker.

18        Q     He's not a supervisor?

19        A     No.

20        Q     All right. So it was Richard Mongillo that

21 told this to you. You never heard it from Peter?

22        A     Peter was really upset and would show up at

23   roll calls that he wasn't even supposed to be at to

24   taunt me after I became full-time because now my hours

25 changed, and he would show up and pretty much do
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1    whatever it took to distract me from roll call, letting

2 me know he was unhappy that I was chosen for the

3    full-time position.

4              Ms. Willoughby, the question I have for you

5    is incident number one that we're talking about

6 subsequent to the point in time you became a full-time

7    employee, you told me that Mr. Mongillo told you that

8 when Peter found out you were selected and not his

9    friend Brandon McCormick, he was upset?

10        A    Yes.

11        Q    What exactly did Mr. Mongillo tell you?

12        A    He told me that he just couldn't understand

13   how I was selected over his friend. I don't recall the

14   exact conversation because this is in 2010, but he was

15   really upset, highly upset, and he made no bones of it.

16 He talked about it to everybody, supervisors and

17   everybody.

18                How do you know he told everybody?

19        A       Because when he talked about it to Richard

20   Nucci and other people witnessed it, he just couldn't

21 understand how -- because usually the supervisors

22   recommend who becomes full-time, but a lot of different

23 things were happening in the department, and because

24   the department was in such chaos -- they had fired 13

25   supervisors from the time I had started as a casual.
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1    They had just gotten Kristin Albis in there to try to

2    help the department. There were a lot of things going

     on in the department.

4         Q      Ms. Willoughby, can you just listen to my

5    question?

6         A      Okay. I'm sorry.

7                I asked you if Peter -- I asked you how you

8    knew this, and you told me that Mongillo told you;

9    right?

10        A      Yes.

11        Q      Okay. And then you said Leonardo said this

12   to everyone?

13        A      He was saying it to many people.

14        Q      And I asked you how you knew that, and I

15 don't even understand how your answer relates to my

16 question. So the question I have for you is how did

17   you know that Peter Leonardo was telling this to

18   everyone?

19        A      Several different people told me that he was

20   upset that I became a full-time employee.

21        Q      Who were those people?

22        A      I recall Mongillo. I recall Noel. Those are

23 the only two at this time I can recall.

24        Q      What did Mongillo tell you?

25        A      That he was highly upset that he was talking
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1    about me in front of groups of people more or less like

2    on a regular basis, even in front of the supervisor, he

     named Nucci, and couldn't understand how I became a

4    full-timer, how Brandon McCormick was not a full-timer.

5         Q     You just said more or less on a regular

6 basis. What does more or less mean?

7         A     So on a regular basis I would hear how

8    disgruntled he was that I became a full-timer.

9         Q     That's because Peter Leonardo didn't like

10   you; right?

11        A     Yes, he did not like me.

12        Q     And there's other people he didn't like;

13   correct?

14        A     I think a lot of people didn't like him.

15        Q     What did Noel tell you?

16        A     Noel told me that he was talking about me in

17   front of several people and saying I should not have

18   become a full-timer.

19        Q     Can you tell me how what you just described

20   supports any claim of gender discrimination or sexual

21 harassment?

22        A     On a regular basis he had no problem calling

23 me a bitch in front of people.

24        Q     I'm talking about this incident. Can you

25 please tell me how this incident you just described to
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1    me supports a claim for sexual harassment or gender

2    discrimination?

          A    He felt that a male would have been more

4    competent in that position.

5              Are you speculating?

6         A    No.

7              He felt his friend would be more competent,

8    Mr. McCormick?

9         A    His friend, a male, would be more competent.

10        Q    Other than the fact that you believe

11   Mr. Leonardo in expressing his frustration that you

12 were made a full-time employee and thought his friend

13 Mr. McCormick should have instead been made a full-time

14   employee, how else does what you just told me support a

15   claim of either gender discrimination or sexual

16 harassment?

17        A    When you're treating a person, especially

18   when it's of the opposite sex, in a manner that's very

19 uncomfortable and very humiliating and very public,

20   just treating them poorly, being referenced to myself

21   regularly as a bitch or a bossy bitch. He's even told

22   people I'm a loud mouth bitch. He doesn't like the

23   fact that I stuck up for myself to him and asked him to

24   repeat what he said about me. He didn't like the fact

25 that I stuck up for myself when it came to him trying
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1              What is the next episode or incident between

2    the time of September 2010 and the date of your

     termination that you believe supports a claim of sexual

4    harassment or gender discrimination?

5         A    One of the biggest things I can recall is a

6    friend and I were out on a ride, another female.

7              Is this the motorcycle ride?

8         A    Yes.

9              Is this where Mr. Leonardo walked by you when

10   you were not working?

11        A    Right.

12              We did discuss this last time. This is one

13 of the biggest things that you can recall between the

14   date of your hire as a full-time to the date of your

15   termination?

16        A     That led up to what happened in roll call in

17   front of a room full of over a dozen people.

18        Q     Where Mr. Leonardo said hello to you?

19        A     He came in and from behind me and his voice

20   in a very high and screechy, screechy, he said hi with

21   a really dragged out Melita in a really crazy voice,

22   just very unsettling. My back was turned to him.

23   sat in front of me. He put his stuff down on the

24   table, and he started staring me down, and I looked at

25 him and I said, "Why are you saying hi to me now?"
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1    Because he doesn't say hi to me. And he, you know,

2    said something to the effect of he always says hi to

     me. I said, "Could you just, please, be consistent?"

4    And everybody in the room started laughing at him, and

5    he was embarrassed and said he liked inconsistency.

6              Then when I read Yale's account of that date,

7    Mr. Nucci lied and said that I liked inconsistency and

8    totally left out how he came in in front of a room full

9    of entirely males and just taunted me and embarrassed

10   me, and Nucci didn't even attempt to tell him to stop

11   or act as if there was a problem with that, at which

12   point, again, he was embarrassed because I just asked

13   him to please be consistent, and when he could only

14   come back with he liked inconsistency, I felt he was

15   embarrassed because everybody in the room was clearly

16   laughing at him.

17              I think a lot of people didn't like me being

18   bullied. Maybe some of his friends liked it, but I

19   think that a lot of people realized that there was a

20   problem with all of this horrible behavior, and it took

21   me to point out to Richard Nucci that Richard Nucci was

22   running a boys club because he shouldn't have allowed

23   that behavior. He had no control of the entire group.

24   This is supposed to be roll call with adults.

25              So this is one of the biggest incidents you
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    1    can recall supporting your claim of gender

    2    discrimination and sexual harassment between the time

         you were hired as a full-time to the date of your

    4    termination; correct?

    5         A    He was --

    6         Q    Can you answer my question?

    7         A     No, that's not all,

    8         •     This is not one of the biggest?

    9         A    It's big.

    10        •     I'm sorry, your testimony was one of the

    11   biggest things you can recall was this incident, and is

    12   that or is that not the case?

    13        A     It's big.

    14        •     So this incident that we're talking about was

    15   when you and a girlfriend were on your bikes in New

    16   Haven; correct?

    17        A     Correct.

    18        Q     You were not working; correct?

    19        A     I was not working.

    20        •     You were stopped at a light; correct?

    21        A     At Temple and Grove I believe.

    22        •     And Mr. Leonardo was working; correct?

    23        A     He was.

    24        •     And he got out of his car?

    25        A     Got out of his car.
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                     Walked by you while you were on your bike?
1

2            A       Right near us.

3                    Said nothing to you?
                     I almost was -- I attempted to nod my head
4            A
         and acknowledge him. He gave us a really hard, crazy
5
         look. My girlfriend, as he's walking away, asked me if
6
         I work for Yale University. I nodded. She asked me if
7
         I knew him. I nodded. And she asked me what that was
8
         all about, and at which point I told her later because
9
         the light turned green, and we discussed it later. But
10
         here's a woman that knew nothing that was clearly --
11
         he's representing the organization in uniform to the
12
         point where a total unbiased person that knows nothing
13
          about what's going on at my job realizes that there's
14

15        something wrong.
                      Can we agree that Mr. Leonardo said nothing
16

17        to you?
                       He didn't say anything to me, and when I told
 18              A
          Richard Nucoi about that incident, that's why Leonardo
    19
          got mad and said, well, you got mad that he didn't say
    20
          hi to you. He doesn't have to say hi to me, but he
    21
           doesn't have to act belligerent to scare -- to actually
    22
           make another person feel like what's wrong here. You
    23
           know, that whole thing for her to ask me don't you work
    24
           for Yale security. And again, we had just left having
    25
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1    lunch at a little restaurant. We had, you know,

2    talked. We were out all morning, and I was going home

3    to get ready for work. I had to be at work at

4    six o'clock.

5               Ms. Willoughby, can you answer my question?

6    Can we agree that Mr. Leonardo said nothing to you?

7           A   He said nothing to me.

8               And did you complain about this to Mr. Nucci?

9           A   I did.

10              And did you complain that day?

11          A   I probably did complain that day because

12   within days that's when he came into the roll call,

13   yes.

14          Q   And what did you say to Mr. Nucci?

15          A   I told Mr. Nucci that on a regular basis this

16   guy goes around being intimidating to me and that even

17   other people that have nothing, no relation to the

18   university are now able to even see and feel as if it's

19   a problem.

20          Q     And what did Mr. Nucci say to you?

21          A     He said, You're mad that he didn't say hi to

22   you? I mean he downplayed it. He made a joke out of

23   it pretty much.

24          Q     And then in roll call, he said, hi, Melita,

25   to you in a long, drawn out voice?
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1         A      In a really loud, long drawn out voice.

2                And you embarrassed him?

3         A      He embarrassed me, and I simply told him

4    be consistent, but I do feel he embarrassed himself. I

5    don't feel like I embarrassed him. I feel he

6 embarrassed himself when everybody laughed at him

7    because the best he can say back was he liked

8    inconsistency.

9                What is the next episode or incident between

10 the time you were hired as a full-time to the date of

11 your termination that supports your claim of either

12   sexual harassment or gender discrimination?

13        A      On a regular basis he woU1d sit in dispatch

14 and pretty much would let Manny know to just make my

15   life miserable, no breaks, just make a very heavy call

16 volume, and different people in the room were present

17   because there's usually about eight dispatchers.

18        Q      How do you know that Peter Leonardo said this

19   to Manny?

20        A      Because Manny was not only regularly making

21 my life miserable, but there were other people in the

22   room. A girl named Michelle, I can't recall her last

23   name, she confirmed it to one of the other officers who

24   in turn confirmed what I already knew what was going

25   on. I knew he was friendly with Manny, • and I don't
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1    think it's because he really liked him. I think it's

2 because he knew he could manipulate him into making my

     life miserable on the job.

4              Was Manny a supervisor?

5         A    No.

6              And you said Manny was making your life

7 miserable?

8         A    Yes.

9         Q    Did Manny tell you that Peter was telling him

10 to make your life miserable?

11        A    No. Manny was being regularly rude to me on

12   the radio, in front of people in the car.

13             So what I want to know is who told you that

14 the reason Manny was making your life miserable was

15 because Peter Leonardo told Manny to make your life

16 miserable?

17        A     Richard Mongillo would also be sitting in the

18 dispatch room regularly. He would talk about it.

19 Michelle would talk about it. I do recall Noel telling

20 me that there was a lot of talk about just making me

21 miserable coming from Peter.

22              Mongillo, Michelle and Noel are not

23   supervisors?

24        A     No.

25              I am correct?
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1         A    No, none of them are supervisors.

2              And you don't have any firsthand knowledge

     that Peter Leonardo was telling Manny to make your life

4    miserable?

5         A    Only that every night Manny was just being

6    rude to me over the radio. I was trying to ask Paul

7    Gallipoli and Richard Nucci to review the tapes every

8    night, and they ignored me because it would just

9    confirm just all the blatant disrespect and kind of

10   nonsense going on any time I tried to ask him why I was

11   at the wrong address again.

12                I'm sorry, you tried to ask Mr. Nucci to

13   listen to the tapes, Mr. Nucci and Gallipoli?

14        A       I asked Gallipoli. I asked Nucci. And

15   several times I asked them to look at the pictures of

16   the times that they were trying to give me a break,

17   like three minutes before I'm ready to get off the

18   clock or -- several times. Then when we went to the

19   CHRO, they tried to say that there was no dispatch --

20   they actually said under oath that there was no

21   dispatch tapes they could have listened to, which

22   that's a lie. They could have actually reviewed any

23   and all transmission, and they could have went back and

24   listened to just the regular nonsense going on. I

25   simply just wanted to work.
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1                What was the nonsense?

2         A      The nonsense was Manny talking very

3    disrespectfully to me on the radio.

4         Q      What did he say?

5         A      Manny and Ed, just when I would ask why I was

6    at the wrong address or what was the correct address,

7    first they would try not to answer you on the radio.

8    Then the radio would squelch because somebody else that

9    had the ability to take the transmit button, so each

10   time you may try to talk, and then there would be

11   different things said into the radio, name calling,

12   laughing.

13               What name calling?

14        A      I'm sorry, I can't recall exact, but I know

15   there were different things said into the radio, and it

16   would be in different voices. And there was a memo

17   that went out about this, if I'm not mistaken, in the

18   department from Dan Killen.

19        Q      Because you complained about it?

20        A      A lot of people complained I think.

21         Q     And it was addressed?

22         A     It was addressed, but it continued to happen.

23         Q     When did it happen?

24         A     On a regular basis.

25         Q      What was the date of the memo?
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1            A       That I don't know.

2            Q       When did you complain about it?

             A       I complained to Paul Gallipoli and Richard
3

4        Nucci several times that if they simply listened to all

5        the unprofessional behavior, to all the sarcastic tone,

6        to them ignoring me when I would clearly try to get

7        information that I needed in order to do my job

8        successfully, and again, night after night they ignored

9        it. They did not want to listen to the radio.

10                   So I'm clear, you're talking about name

11       calling on the radio; correct?

12            A       Yes.
                      And you can't recall what names were being
13

14       used; correct?

15               A    No, because I was --

16               Q    Am I correct?

17               A    Yes.

18                    You're talking about sarcastic tones?

19               A    Yes.
                      What type of sarcastic tones? What do you
20

21        mean by that?

                 A    If I were to ask Manny or Ed to give me a
 22

 23       specific address, tell them that I arrived at a

    24    location, it would be, "Check your MDT." It would be,

    25    you know, "Don't keep calling me on the radio." I'm
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1                How do you know that?

2         A      I picked her up. She was a good looking

3    girl.

4                How do you know that Manny started

     intentionally discharging her to another male because

6    she was nice looking?

7            A   Because the different males that requested

8    her specifically, this one particular girl, I was no

9    longer picking her up, and there was talk of her

10   requesting me. She actually told me she was going to

11   request me.

12               You said there was talk. What does that

13   mean?

14           A   So I suppose when she would call in for her

15   regular rides --

16           Q   Do you know this to be a fact?

17           A   I know this from just the different officers

18   talking back and forth amongst each other. So, no, I

19   don't know it to be a fact.

20               What was the woman's name?

21           A   I don't recall her name. I picked up a lot

22   of people. This was five years ago. I actually don't

23   recall any of their names. I picked up a lot of people

24   regularly.

25                Do you have any direct facts or evidence that
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1    Manny was intentionally misdirecting you?

2         A     On a regular basis I was given wrong

     information on a regular basis. When I tried to talk

4    to him about that, all he would do is get sarcastic

5    over the radio because I was -- I told him one night on

6 the radio that again I'm at the wrong address, and he

7    started yelling into the radio. I clearly asked Paul

8    Gallipoli that night to go back and to listen to that

9 entire transmission, which would have validated my

10 suspicion and him regularly giving me the wrong

11   addresses.

12                So we can agree that it's a suspicion?

13        A       My experience.

14                It was your word, suspicion?

15        A       I'm going to change it to experience, sir.

16                Okay.

17        A       That's what I experienced.

18                And what is the next incident that you rely

19 on to support your claim of gender discrimination or

20   sexual harassment that occurred between the time you

21 were hired as a full-time to the date of your

22   termination?

23        A       When I originally got hired and I asked for a

24   bike position, since I was one of the only officers

25   that was -- since I was actually the only officer that
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 1   UTI, urinary tract infection, from holding my pee in

 2   because male officers thought it was a joke not to give

     me a break.

 4              Do you agree that the student made a formal

 5 complaint about you?

 6        A     A complaint was made to my knowledge.

 7              And do you know the basis of that complaint

 8   as you sit here?

 9        A     I know the basis, but I don't believe -- I

10   believe it was exaggerated on Yale's part.

11              Are you aware of a reckless driving complaint

12 being made against you?

13        A     I'm aware of a complaint, but I never drove

14   reckless. And I had two passengers in the car, and

15 since they have been named, if it goes to court and

16   they're subpoenaed, they're going to tell you that they

17 were terrified of what this guy did.

18        Q     What did the guy do?

19        A     The boy in the car asked me to take a left on

20   a one-way street. I was On a one-way street at a

21   light, so I was stopped. There was a black SUV right

22 behind me to my left. The boy asked me to take a left

23   to save a lot of time. I said no problem. I looked at

24 the driver behind me and I pointed, physically pointed

25   and asked him if I can get over. He gave me the nod
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1    shake, like good driver shake like go ahead.

2               The light turned. I went and took the left

     in front of him because there was a line full of

4    traffic at the light, just a line full of traffic. So

5    at which point I go over. He follows us down the

6    street. He's beeping. He's giving me the finger.

7    He's beeping and he's telling me to pull over, and the

8    kids are scared. These kids are scared. They're like

9    please don't pull over. I'm like I'm not going to pull

10   over. I'm not pulling over. And as he's screaming and

11   swearing and chasing us down, maybe he thought if he

12   called Yale -- I don't know if he thinks he's going to

13   sue Yale or what he thinks he's going to do, but if

14   they would have simply called those two kids like I

15   asked them to do because they surely put their names.

16   They had their names. I didn't like think to go on the

17   MDT and write down their names because usually they put

18   at least one of the passengers names on the MDT to show

19   you who you're picking up in case you need to see a

20   student ID or employee ID to make sure you're picking

21   up somebody who actually goes to school there or works

22   there or might be a professor there. But the boy in

23   the car said don't pull over. I said, again, I'm not

24   pulling over, and it was a very irate, crazy driver.

25   So for him to make that complaint is almost laughable.
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1               Do you know what the nature of the complaint

2    was made against you?

          A    He said I cut him off. I read that. I did

4    not cut him off.

5               And do you know the name of the person making

6 the complaint?

7         A     I don't recall the name, but he said I cut

8    him off, and I did not cut him off.

9               Does Major Nelson ring a bell?

10        A     That would sound familiar. That would sound

11   like the name, yes.

12              And you don't deny that an incident did occur

13 between you and this gentleman?

14        A     I didn't cut him off.

15        Q     That's not the question. You agree that an

16 incident, some incident occurred between you and this

17   gentleman?

18        A       Yeah, he was irate.

19              And you disagree with his recitation of the

20   facts of that incident. Is that correct?

21        A       I completely disagree, and the two people in

22   the car would disagree as well. There's no way they

23   forgot that. Those two students could never forget how

24   scared they were.

25        Q       Did you make any attempt to contact those two
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 1              You understand that --

 2        A     He provided it three minutes of the day of

     the hearing.

 4        Q     Yale wasn't withholding this from you. They

 5   provided it to your attorney. Can we agree on that?

 6        A     Yes.

 7              Let's look at the email. Can we agree that
 8   it's from Richard Nucci?

 9        A     Yes.

10        •     Can we agree it's dated October 6,=2010?

11        A     Yes.

12        •     Can we agree that that was during your

13   probationary period?

14        A     Yes.

15        •    Can we agree that the first line says, "On

16   Thursday, September 30th I received an irate telephone

17   call from Melita Willoughby regarding a transit vehicle

18   not be located at 100 Church Street South."

19        A    I never called him irate.

20        •    Can we agree that that's what the email says?

21        A    That's what the email says.

22        •    What does this reference?

23        A    I called him because I was really unsure

24   where to show up for work, 79 Howe or 100 Church

25   Street. On the nights that I drove, I was supposed to
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 1   be at work at 6 p.m. There's a lot of traffic in New

 2   Haven at that time. So although I always was running

     on time, I was so unsure where to go. I finally said

 4   to him one night where am I supposed to go, 79 Howe,

 5   100 Church.

 6             Explain to me, because that's what I don't

7 understand. Why would you need to report to that

8    address? Is there a vehicle that takes you to work?

 9        A    No. My vehicle I needed to park at one of

10 the two places, but they would never tell me where to

11   go. So on the night that I called him, I was trying to

12   explain to him I come to work early every night, and

13   sometimes I'm supposed to show up at 100 Church Street

14   and sometimes I'm supposed to show up at 79 Howe. Can

15   somebody just please tell me, maybe make a schedule on

16   the three nights a week that we're driving, for all the

17   drivers, like let me know where to show up because I

18   don't know where to pick up the car because now it's

19   going to look like I'm late.

20             So you were told that a vehicle should not be

21   at 100 Church Street South; correct?

22        A     I was told that the vehicle could be at

23   either place.

24              Well, this email says -- and if you disagree

25 with it, let me know, but it says that you were upset
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1    because a vehicle not be located at 100 Church Street

2    South?

3         A     No. Actually, going to Howe Street would be

 4   way closer for me. So actually, I showed up at Howe

5    Street first, and then I'm going back and forth and

6    there's no vehicles. So I can't perform my job without

7    a vehicle. I'm asking him where do I get a vehicle.

8               The next sentence says you were very rude

 9   over the telephone.

10        A     I was never rude to him.

11              So you disagree with that. It also says

12 Mr. Nucci explained to you that due to the current

13 vehicle situation, a car may not always be located at

14   100 Church Street. Is that correct?

15        A     He was explaining that cars could be

16 anywhere, but I explained to him that the bike officers

17 were supposed to be on the bikes and a car was supposed

18   to be available to me, at which point --

19        Q     And he told you it would be at 79 Howe;

20   correct?

21        A     He told me it could be at either place.

22        Q     And he told you to travel to 79 Howe to find

23   a vehicle; correct?

24        A     I had just left 79 Howe, so now he's sending

25 me back to where I just went.
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1              Did yov say now I have to fight the traffic

2    to come all the way over there?

3         A    I told him I was sitting in traffic and that

4    it was going to take me time.

5              And then the email says that Mr. Nucci then

6 pulled you aside a few hours later to discuss your

7    conduct. Do you remember that?

8         A    I was in the parking garage, and he asked me

9    why I was upset. I said I'm not upset. I just want

10   some consistency. I don't know what to do here. I

11   didn't understand how an organization such as Yale and

12   all these supervisors couldn't figure out that it's

13   making me look like I'm late if I don't pull that key

14   for that car.

15              Do you recall --

16        A     We didn't have time cards to punch in or

17   anything like that.

18              The question I have for you is do you recall

19 Mr. Nucci meeting with you or pulling you aside to

20 discuss your conduct?

21        A     We didn't discuss my conduct. We discussed

22   the vehicles and where I should be going.

23              Mr. Nucci termed this a counseling session.

24   Do you recall that?

25        A     It was not -- we're sitting out in the
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1    parking lot, and he's in his car and I'm in my car. So

2    I don't think that was a counseling session, unless in

     his mind it was.

4         Q    Did you try to tell him how to make

5    operational decisions?

6         A    No. I just told him that I just needed to

7    know where to go to pick up a car.

8         Q    Did you tell Mr. Nucci that, quote, "I'm just

9 going to wait until my 90 days are up before blowing

10   the lid on this place." Did you ever say that?

11        A    That is the most laughable statement. Never

12 have I said that in my life. I would never ever, and

13 then he proceeds to say that I said it about Dan Killen

14   and Cisco Ortiz.

15              So the answer is you did not say that?

16        A     No.

17        Q     And then it goes on to say that you cited

18 prior conflicts with supervisors and other security

19   officers, in particular Peter Leonardo and Bill Hewitt.

20 Did you do that during the conversation?

21        A     I didn't really have a big issue with Bill

22   Hewitt, so reading that, no, I did not, I did not have

23   a big issue with Bill Hewitt. The only thing I can say

24   about Bill Hewitt is he was always where Peter Leonardo

25 was. Was I friendly with him? The most we said was
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1    hello. We acknowledged each other, but I never had an

2    issue with Bill Hewitt.

          •      Did you accuse Peter Leonardo of being into

4    Nazi practices during this meeting?

5         A      I did.

6                Did you tell Mr. Nucci during this meeting

7    that a friend of yours had complained about Peter?

8         A      Yes.

9         Q      And did Mr. Nucci tell you to have that

10   friend contact you?

11        A      He didn't want to hear anything about it.

12 Ails he kept saying was that Peter doesn't have to say

13   hi to me.

14               Did Mr. Nucci ask you to have your friend

15   contact you or Dan Killen?

16        A      What he was asking was who was she. I told

17   him who she was, and I don't think he ever asked to

18   have her contact him.

19               Do you agree that that's in the email?

20        A      That he's writing this?

21               It says, "I asked her to have the friend

22   contact either me or Dan Killen, and we would take

23   appropriate action based upon facts and specific

24   details."

25         A     I don't recall him actually asking me that.
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1               Then it says, "On Friday, October 1, Melita

2    returned to work and asked to speak with me. I agreed

     and she proceeded to inform me that she, at the request

4    of her husband, would like to forget all about last

5    night."

6         A     That never happened.

7               Do you know what that's referencing?

8         A     No, because what's confusing about that is I

9 didn't want to forget about what was happening. I

10 wanted the harassment to stop, but what my husband

11   continued to tell me was be strong, don't allow all

12 this nonsense to come home with you. My husband was

13 asking me to try to ignore what was happening, but as

14   far as me telling him to forget about everything, no.

15              So there was some conversation with your

16 husband that you did report to Mr. Nucci. Is that

17   correct?

18        A     I told him that I'm going home, bringing

19 these work problems with me, and yes, discussing them

20 with my husband.

21        Q     Well, you just told me that your husband told

22   you to try to let this go?

23        A     Of course.

24              And Mr. Nucci reports something along those

25   lines in this email; correct?
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1         A     I never told -- like what he's saying here, I

2    did not say this, nothing about forget about last

3    night. Why would I want to forget. Right now is it

4    hard to recall each and every conversation, yes, but

5    why would I want to forget about things that I was

6    reporting. So, no, I never said that.

7         •     The next sentence says, "She then proceeded

8    to complain about Peter Leonardo and bring up prior

9    issues that I could neither confirm nor deny that had

10   occurred." Do you see that?

11        A     Yes.

12        •     Did you bring up issues with Peter Leonardo?

13        A     Possibly, yes.

14        •     When did Mr. Nucci become a supervisor?

15        A     Probably spring of 2010. I knew him for

16   approximately six months.

17        •     So can we agree that many of the complaints

18   that you had about Peter Leonardo occurred before

19   Mr. Nucci became a supervisor?

20        A     Agree.

21              And you can agree that there's nothing that

22   Mr. Nucci could do as a supervisor at that point to

23   address the complaints that happened several years

24   back?

25        A     Disagree.
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1               What did you want him to do to address the

2    complaints that you had regarding Peter Leonardo's 2009

3    conduct?

4         A     Maybe if he started acting like a supervisor

5 rather than hanging out at pizza places on Crown Street

6    with these guys, acting like their friend.

7               That wasn't what I asked you. If you could

8    listen to my question. The question was what did you

9 want Mr. Nucci on October 6, 2010, to do about Peter

10   Leonardo's 2009 conduct?

11        A     I think I was hoping that going through the

12 chain of command, he would address my concerns and my

13 complaints directly with Peter Leonardo and tell him,

14   look, buddy, this has got to stop.

15              And in fact, there was a meeting with Peter

16   Leonardo. Isn't that correct?

17        A     That I don't know.

18              That's at least what's referenced in Exhibit

19   CC. Is that correct?

20        A     That's what they said there was, yes.

21              And you have no reason to believe or

22   disbelieve that. Is that correct?

23        A     I don't -- I think if he did have a meeting

24 with him that it was to just go through the motions.

25              You have no evidence to support that. That's
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1    just your suspicion; correct?

2         A    It was pretty obvious that they were friends.

                Did you have any evidence to support that

4    other than your suspicion?

5         A    It's my thought.

6         Q    It then says, "She then requested that I

7    forget these conversations occurred." Do you see that?

8         A     I disagree with that.

 9              Then Mr. Nucci says, "I informed her I could

10 not do so, that she should focus on her own performance

11 and not become consumed with the actions of her peers."

12 Was that said?

13        A     No. I was worried about myself and not other

14   people.

15              Did Mr. Nucci ever tell you that he would act

16 on any inappropriate actions exhibited by either her or

17   other officers?

18        A     No.

19        Q     It then says you said your personal vehicle

20 was in jeopardy parking at Howe Street because Peter

21   Leonardo had, quote, trashed people's cars in the past.

22   Did you say that?

23        A     I was concerned because he was known -- there

24 was another officer that thought his car was damaged by

25   Peter.
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1         •      Did you say this?

2         A      Yes.

3         •      And do you know that Peter Leonardo in fact

4    trashed other people's cars?

5         A      The other officer seems to think he did.

6         Q      So the other officer thought, but did the

7    other officer have any knowledge?

8         A      I think he may have.

9         •      Do you know that he did?

10        A      I don't know that for sure.

11        •      So here you are now on October 6th telling

12   your supervisor, accusing Peter Leonardo of trashing

13   other people's cars without any evidence to support

14   that?

15        A      Or at least one person's.

16               Is that right?

17        A      Yes.

18           Q   And in fact, you told him that you had no

19   evidence to substantiate this accusation; correct?

20           A   I don't recall saying that.

21           Q   You just told me that today.

22           A   I'm telling you that today, but what I said

23   to him four years ago, five years ago, I don't recall

24   each and every thing we spoke about.

25           Q   You were accusing
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1         A     I know I wasn't telling him that I wanted to

2    forget conversations. I wanted him to do his job. So,

     no, I wasn't telling him those sorts of things.

4               You were accusing Peter Leonardo of criminal

5    conduct without any evidence to support it; correct?

6         A     I was scared for my car.

7               Would you agree with me that you were

8    accusing Peter Leonardo of criminal conduct without any

9    evidence to support it?

10        A     I didn't accuse him directly. I was scared

11   for where he wanted me to park my car because there

12 were no cameras, and we were having that discussion

13   because Peter was the only one that was allowed to park

14   in this garage, although Francisco Ortiz put out a memo

15   that nobody park there, and the rest of us just wanted

16 to park somewhere where there was space and where our

17   cars would be under cameras.

18        Q     Ms. Willoughby, did you say that you were

19   concerned that Peter Leonardo would trash your car?

20        A     I don't think I used the word trash. I think

21   I told him I was worried about my car.

22        Q     About what?

23        A     I know that one of the other officers' cars

24   did get trashed really bad.

25        Q     What did you tell Mr. Nucci?
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1         A     I told him I was worried about my car.

2               That was it?

                I don't recall exactly what I said.

 4              You agree that this email says, "because

5    Peter Leonardo had trashed people's cars in the past."

6         A     That's what he writes, yes.

7               And you agree that trashing someone's car

8    would be criminal?

9         A     Oh, of course it's criminal.

10              And you agree that he says in this, he

11 reported that you have no evidence to substantiate your

12   statement; correct?

13        A     That's what Mr. Nucci is writing, yes.

14              So can we agree that if this was true, and I

15   understand you might dispute it, but if this is true,

16 you would be accusing someone of criminal conduct

17 without any evidence to support it during your

18   probationary period, correct, if this was true?

19        A     I was worried about my car.

20              Can you agree with my statement or not?

21        A     I can't fully agree.

22              Okay. Very good.

23              And then did you accuse Cisco Ortiz, Danny

24   Killen, and supervisors, including Mr. Nucci, of

25   running a good old boys club?
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 1        A      I accused Richard Nuoci of running a boys

2    club. I never accused Mr. Ortiz or Mr. Killen, and I

 3   didn't use the term good old boys club. I used the

 4   term boys club.

5                You see here Mr. Nucci asked for facts to

 6   support that statement, and it says you offered no

 7   evidence or facts to support your statement?

 8        A      I told him that if he stopped being friends

 9 with his bike officers and he did his job, and he was

10   upset, and he asked me if I should be complaining in an

11   uncertain economy. That night he was furious when I

12   told him he was running a boys club, but I never said

13 that about Ortiz, and I never said that about Dan

14   Killen.

15               Then it says that you decided not to involve

16 your friend that you were on the motorcycle with

17 presumably and the complaint against Pete that you

18   brought to Mr. Nucci's attention the prior night. You

19   see that?

20        A      Yes, I see that.

21               Did your friend decline to be involved in any

22   investigation into Pete Leonardo's conduct?

23        A      She knows that if she's subpoenaed --

24        Q      That wasn't the question I asked you,

25 Ms. Willoughby. The question I have is did your friend
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1         A      I can't recall exactly how that conversation

2    went. I'm trying, but I cannot recall the exact

3    conversation.

4                Do you remember Mr. Nucci telling you that

5    since your friend would not come forward, he would

6    consider the matter closed?

7         A      No, I don't remember him saying that.

8         •      Do you recall there being complaints made

9    about you that you were not showing up for work?

10        A      Oh, I always showed up for work. There were

11   never any complaints made about me not showing up for

12   work.

13        •      Tom Helland, do you remember Tom Helland ever

14   making a complaint that you had not shown up for work?

15        A      The night that I was -- that I went to Paul

16   Sarno --

17           Q   Let me take that back. I'm sorry.

18               Well, I don't know. Look at this email where

19   it says, "Tom Helland." You see that? There seems to

20   be an accusation that you had not shown up for work,

21   and you were called and asked if you were working, and

22   you reported that you were in car six awaiting your

23   first call of the night.

24           A   See, I actually told him that I just called.

25   I told Tom Helland, and Tom Helland actually testified
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1    at the CHRO that that's how it went. I told him that I

2    just called dispatch and asked them why I wasn't

     getting any calls. They told me I wasn't plugged into

4    the MDT. I told them that earlier that night I walked

5    by, I said hi to all you guys, you know, not that I

6 don't know that they really noticed, and that I told

7    Paul Sarno, because my cell phone would have supported

8    that I made that call to dispatch at the appropriate

9 time of pulling the keys, to plug me into the MDT.

10   Paul Sarno, when I finally got back to dispatch,

11 admitted that it was his mistake that he forgot to plug

12 me into the MDT.

13              But Brian McCormick, just being a

14   troublemaker, telling Tom Helland a whole different

15   story. So when Tom and I did discuss it, I says, oh,

16   I'm already on my way to dispatch; they want to check

17   out the MDT. I said but that's not the issue. I said

18   I told Paul Sarno. So when I got in there, Paul said

19   in front of everybody, he goes, you know, she actually

20   did call me. He goes, it's my mistake, and he

21   apologized in front of a room full of people.

22              Do you recall that immediately following a

23   counseling session that you had with Mr. Nucci and

24   Ms. Albis, you used a confrontational tone with the

25   dean of Davenport College?
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1         A    That's a lie.

2              And do you remember an encounter on or about

3    October 29th with the dean of Davenport College?

4         A    I actually remember it well.

5              Was Mr. Nucci with you?

6         A    Mr. Nucci stood there and I would think would

7    be impressed with how I handled the situation, and that

8    is how -- if the dean were spoke to, I'm sure he would

9    actually tell you that not only was that a very

10   friendly conversation, but I handled it appropriately.

11   And the college across the street wasn't the college

12   that I was -- I didn't have keys to that college. I

13   didn't have the ability to go over and tell those

14   students. Greg Teel, from what I understand, was

15   contacted and told to go tell them to be quiet, but

16   when the gentleman approached me, I didn't know who was

17   approaching me. So I did ask him who he was. I did

18   tell him that we would handle the situation, and he was

19   really nice to me. He gave me his cell phone number.

20   He shook my hand. Richard Nucci watched that whole

21   thing.

22                   MR. MERLY: Let's go off the record for

23              a minute.

24                (THEREUPON, A RECESS WAS TAKEN

25                      FROM 1:20 TO 2:10.)
                        DEL VECCHIO REPORTING
                           (203) 245-9583
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                                                               135




 1                     CERTIFICATE

 2

          I hereby certify that I am a Notary Public, in and

 4   for the state of Connecticut, duly commissioned and

 5   qualified to administer oaths.

 6          further certify that the deponent named in the

 7   foregoing deposition was by me duly sworn, and

 8   thereupon testified as appears in the foregoing

 9   deposition; that said deposition was taken by me

10   stenographically in the presence of counsel and reduced

11   to typewriting under my direction, and the foregoing is

12   a true and accurate transcript of the testimony.

13        I further certify that I am neither of counsel nor

14   attorney to either of the parties to said suit, nor am

15   I an employee of either party to said suit, nor of

16   either counsel in said suit, nor am I interested in the

17   outcome of said cause.

18        Witness my hand and seal as Notary Public this

19           day of                    , 2015.

20

21                                         „k{
                                    Audra Quinn, RPR, LSR
22                                  Notary Public

23   My commission expires:    7/31/2016
     LSR No. 106
24

25

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                                 STATE OF CONNECTICUT
                  COMMISSION ON HUMAN RIGHTS AND OPPORTUNITIES




                  DRAFT FINDING OF NO REASONABLE CAUSE



MELITA WILLOUGHBY
COMPLAINANT


VS.


YALE UNIVERSITY
RESPONDENT

                                                   DATE FILED: MAY 24, 2011
CHRO NO: 1130482
                                                   DATE FILED: MAY 24, 2011
EEOC NO: 16A201101047
PARTIES


COMPLAINANT:


Melita Willoughby
466 Carrington Road
Bethany, CT 06524


RESPONDENT;


Yale University
Jonathan E. Clune, Senior Associate General Counsel
Yale Office of the Vice President & General Counsel
 P.O. Box 208255
 New Haven, CT 06520




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RESPONDENT'S COUNSEL:


Jonathan E. dune, Senior Associate General Counsel
Yale Office of the Vice President & General Counsel
P.O. fox 208255
New Haven, CT 06520


JURISDICTION


[ Xi   The investigator concludes that the Commission has jurisdiction to receive, investigate
       and issue a determination upon the merits of this complaint.


II     The investigator concludes that the Commission does not have jurisdiction to receive,
       Investigate and issue a determination upon the merits of the complaint. Therefore this
       complaint is dismissed due to the lack of jurisdiction.


FINDINGS OF FACT

       1. Mellta Willoughby (Complainant) has alleged that she was sexually harassed,
          retaliated against for complaining about harassment, and discriminated against on
          the basis of her sex (female) when the respondent terminated her employment on
           December 6, 2010,

       2. The Respondent is Yale University and employs over fifteen (15) employees,

       3. The Complainant began her employment with the Respondent as a casual employee,
          security officer on October 14, 2008, On September 13, 2010 she began a 90-day
          probationary period to become a permanent security officer.

        4. The Director of Operations, Francisco Ortiz was a part of the panel which collectively
           decided to hire the Complainant on a probationary basis as a permanent officer as
           testified by Mr. Ortiz. In addition to his testimony, documentation shows that Ortiz
           also made the decision to terminate the Complainant on December 6, 2010 as a
           result of poor performance during that period. It is notable that the same individual
           who was responsible for hiring the Complainant is the same individual who is
           responsible for firing the Complainant, after performance Issues developed.

        5. Regularly, permanent employees receive progressive discipline which includes
           verbal warnings, written warnings, and possibly suspension before an employee Is
           discharged as testified by Mr. Ortiz and the HR Generalist Kristen Maloney,

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                                                   .
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    6, As stated in the Yale University Personnel Policies 84 Practices manual, effective as of
        November 15, 1993, employees on their 90-day probationary period may be
        terminated by the University without cause if it Is determined that he or she is not
        suited for the work, Thus, it is in accordance with policy a permanent employee
        would be given more of an opportunity to correct poor performance than an
        employee who was in their probationary period.

    7. The Complainant had no disciplinary issues d uring her tenure as a casual employee
        security officer tasked with patrolling areas on foot and in a 13 vehicle from October •
        14, 2008 to September 12, 2010,



    8, Officer Peter Leonardo bothered everyone and lead Bill Abbott told the complainant
       that Leonardo had called the complainant a "b*tch," as testified by the complainant.

    9. On one occasion In 2008 Leonardo called the complainant a "f***Ing rat" and told
       her to "Stay dry" while Complainant was wet from the rain and Leonardo was in a
       vehicle, as testified by the complainant. The complainant's lead, Bill Abbott Informed
       Dan Killen, the Security Director of Operations that Leonardo had mocked the
       Complainant while In a car, and Killen advised Abbott to instruct Leonardo not to
       have two guards in the same car as testified by Killen.

    10, In 2008, Supervisor of Guard Operations Richard Nucci did not address the
        complainant's complaints about harassment by Leonardo but instead informed the
        complainant that: she could not find a job elsewhere; she should not complain; and
        stated he was resentful that she made a similar amount of money as him, as
        testified by the complainant,

    11. When the complainant was on a work-related bike ride in the summer of 2009,
        Leonardo yelled in front of the bike class "Are you going to change your tampon?" as
        she was on the way to the bathroom, as testified by the complainant.



    12. Although the Complainant urges that the stray remarks made at a few times during
        her employment created a hostile environment based on sex, the evidence does not
        support her claim. Moreover, despite these few remarks in 2008 and in 2009, the
        Complainant still was given the opportunity to have a permanent position as a
        Security Officer in 2010.



    13. Security Officer Richard Mangillo had been told that Leonardo said Complainant was
        "riding dirty," as testified by the complainant. The complainant believed that this

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       meant that Leonardo was intimating that she was having an affair outside of her
       marriage. The Complainant's interpretation of the statement does not relate to her
       sex, female,

    14. In 2010, the Complainant reported an incident where Leonardo used aggressive,
        threatening body language towards her and a friend while they were riding on
        motorcycles, as testified by Ms. Maloney. The complainant would not provide the
       name of her friend as a witness, as also testified by Ms. Maloney. Although
       Complainant denied this and said that she did give the name of this friend, there is
       no evidence to support Complainant's testimony,

    15. On one occasion, the Dispatcher Manuel Rivera mistakenly gave the complainant
        wrong addresses for student pickups as the numbers were slightly switched around,
       as testified by Supervisor of Guard Operations Paul Galipoli, This was the result of a
       typing error when inputting locations to the electronic manifest, as testified by
       Galipoli. It is credible that the wrong address was a typing error, due to the fact that
       this error was not repeated and this was an Isolated Incident.


    16. The radios used by Security would receive transmissions of music, laughter, and
        speech from an unknown source, and sometimes radio calls by employees would be
        cut off, The Complainant believed that Mr. Rivera and/or Mr. Leonardo were the
        people purposely cutting off her transmissions and making annoying noises. The
        Respondent conducted an investigation, but it was impossible to identify the source
       of the transmissions. The complainant was unable to support her testimony that this
       contributed to sex discrimination

    17, I find that the respondent did not prevent the complainant from taking bathroom
       breaks or lunch breaks, The complainant's claim that she was not allowed was not
       substantiated due to the fact that all drivers receive requests and Complainant's
       supervisor did not receive notice that she was not able to take breaks. The Yale
       transit software is designed to find the closest driver to a given transit request and
       assigns requests automatically to transit vehicles, as testified by Killen. The
       Complainant could not provide evidence, nor was there evidence available to refute
       the function or use of the transit software,

    18. The Complainant's supervisor Paul Gallipoli received a complaint from a transit
        passenger the night of September 24, 2010, who stated that Complainant was rude
        while doing a drop-off. Gallipoli earlier in the evening saw this passenger approach
       the Complainant and heard Complainant tell the passenger that she knew how to
       read the manifest and told them to sit in the vehicle. The passenger later in the ride
       was upset that Complainant had missed a turn. It is reasonable to believe that this


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       Incident contributed to Respondent's desire to terminate the Complainant during
       her probationary period.

    19. On the night of September 25, 2010, the Complainant took out a different transit
        vehicle than the one assigned to her. The vehicle which Complainant took had a
        defective electronic manifest, Complainant called Dispatch asking for information at
        the beginning of her shift but received no response. Thereafter, Complainant waited
        for two (2) hours and did not do any pick-ups during that time, Shift Supervisor Tom
        He!land contacted her and resolved the issue after about two (2) hours. It seems
        reasonable that Respondent believed that waiting two hours without doing any
        pickups was poor performance,

    20. On the night of November 11th, 2010, Mr. Gallipoli received a complaint from a man
        named Major Nelson, who stated that he had been cut off by a Security vehicle
        which was found to be a vehicle driven by the Complainant. In a telephone call the
        next day, Major Nelson claimed that the transit driver did not signal to move into his
        lane. This investigator finds it reasonable for the Respondent to rely on a complaint
        made by the public to determine whether an employee has performance issues
       during their probationary period.

    21. Documentation shows that there were seven accidents involving security officers
        from December 2008-December 2010 recorded by Yale Risk Management, There
        were only two accidents where the Yale employee was found to be at fault and as a
        result, that employee received counseling. The specific employees who received
        counseling for accidents were the Complainant and Security Officer Cruz Castillo,

    22, The Notice of Loss Report and Yale University Security Programs Incident Report
        reveal that Complainant had a minor accident while driving a transit vehicle while
        carrying four passengers, Risk Management found that Complainant was at fault in
        this accident and she received counseling. Complainant had this accident during
        her probationary period.

    23. Documentation also shows that Security Officer Cruz Castillo, a male, who was also
        in his probationary period, was involved in a minor accident in a transit vehicle on
        October 22, 2010. Risk Management found that he was at fault and he received
        counseling. The evidence does not show that Castillo had a similar number of
        disciplinary issues as the Complainant.

    24. The Connecticut Uniform Police Report dated April 4, 2010 reveals that another Yale
        Security employee, William Hewitt, a male, was also involved in an accident while
        driving a Yale transit vehicle, but he was not deemed to be at fault as he was
        unexpectedly rear ended by a motorcycle. That accident is not comparable to

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       Complainant's driving record where Complainant was deemed to be at fault and
       where Complainant was in her probationary period.

    25. The facts reveal that Yale Security Officer Judith Ocasio-Rivera, a female, was
        Involved in a vehicle accident on October 19, 2009, but she was not found to be at
        fault and this accident was not during her probationary period. The facts also reveal
        that Ocasio-Rivera received a complaint against her on May 15, 2010 but this was
        not during her probationary period. Ocasio-Rivera received counseling and later
        became a permanent Security Officer. Moreover, Officer Ocaslo-Rivera and the
       Complainant belong to the same protected class, sex female. This fact does not
       support Complainant's claim that she was treated more harshly based on her sex.

    26. The totality of the information in the case file leads the investigator to conclude that
       there Is not sufficient evidence supporting reasonable cause for the claim that the
       Respondent discriminated against the Complainant on the basis of her sex, female.
       Complainant's sexual harassment claim is based on the actions of coworker Peter
       Leonardo, Although Complainant alleges that there were a few gender related
       comments made by a co-worker, such as Leonardo asking If Complainant was "going
       to change her tampon' these stray remarks don't amount to sexually harassing
       conduct. Most of the incidents that Complainant alleged were sexually harassing did
       not target Complainant's gender in any way, such as Leonardo telling her to "stay
       dry" at Science Park or the incident where Leonardo allegedly directed aggressive
       body language towards Complainant and her friend,


    27. Throughout the process where Complainant talked to Management about
        Leonardo's behavior, he was told to behave In a more professional manner, and
        both Complainant and Leonardo were sent a memo on November 11, 2010
        instructing them to treat each other with respect. Management made an effort to
       resolve the ongoing conflict between the Complainant and Leonardo and the
       evidence reveals that the conflict seemed like a personality conflict as opposed to a
       conflict based on the gender of the Complainant.

    28. The totality of information does not create reasonable cause for believing that
       Complainant was terminated In retaliation for complaining about sexual harassment
       In the workplace. Respondent demonstrated that the performance issues were the
       reason for Complainant's termination and were not pretextual but were legitimate
       non-discriminatory reasons supporting their decision to terminate the Complainant.
       Complainant had several performance issues and incidents during her probationary
       period from September 12, 2010 to December 6, 2010, including a minor car
       accident, a student complaint, a complaint from a driver on the road, and an
       incident where Complainant did not do any student pick-ups for two hours. The


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             student and the driver, who did not have a stake In having the Complainant
             terminated, called In the complaints.


         29. There is no evidence that suggests that the Respondent solicited complaints from
             the student or the driver who complained. The only other Security Officer on
             probation to be in a vehicle accident and found to be at fault was Cruz Castillo, but
             he did not have a similar volume of incidents as the Complainant. There is no
             reasonable cause to believe that Complainant was discriminated against on the basis
             of sex, as she was hired for the probationary permanent position by Mr. Ortiz and a
             panel of other Management personnel, and the decision to terminate was made
             after Mr. Ortiz collectively inquired from the Management team about
             Complainant's performance.




DETERMINATION


         After reviewing all of the evidence in the Commission's file, the investigator concludes
         that is reasonable cause for believing that a discriminatory practice has been or is being
         committed as alleged in the complaint.

1-57:1   After reviewing all of the evidence in the Commission's file, the Investigator concludes
         that there is no reasonable cause for believing that a discriminatory practice has been or Is
         being committed as alleged in the complaint.


Dated and entered this    (i)i)   day of   dildrCh   2014.

                                                 COMMISSION ON HUMAN RIGHTS
                                                 AND OPPORTUNITIES




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